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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA

GLBT YOUTH IN IOWA SCHOOLS TASK
FORCE, BELINDA SCARROTT as Next
Friend for P. B.-P., RICHARD CARLSON, as
Next Friend for P.C. & A.C., ULRIKE
CARLSON, as Next Friend for P.C. & A.C.,
ERIC SAYLOR, as Next Friend for T.S.,
BRIGIT STEVENS, as Next Friend for B.F.S.,
JOSEPH STEVENS, as Next Friend for B.F.S.,
JANE SMITH, as Next Friend for ROBERT
SMITH, JOHN SMITH, as Next Friend for
ROBERT SMITH, LARA NEWSOM, as Next
Friend for B.F., JOHN DOE, as Next Friend for
JAMES DOE,
                                                              Case No. 4:23-cv-00474
                Plaintiffs,

 vs.                                                    ORDER GRANTING IN PART AND
                                                        DENYING IN PART MOTION FOR
KIM REYNOLDS, in her official capacity as                PRELIMINARY INJUNCTION
Governor of the State of Iowa, MCKENZIE
SNOW, in her official capacity as Director of the
Iowa Department of Education, IOWA
DEPARTMENT OF EDUCATION, IOWA
STATE BOARD OF EDUCATION, IOWA
CITY COMMUNITY SCHOOL DISTRICT,
SIOUX CITY COMMUNITY SCHOOL
DISTRICT, URBANDALE COMMUNITY
SCHOOL DISTRICT, WATERLOO
COMMUNITY SCHOOL DISTRICT, WEST
DES MOINES COMMUNITY SCHOOL
DISTRICT, et al.,

                Defendants.




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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA

PENGUIN RANDOM HOUSE LLC, LAURIE
HALSE ANDERSON, JOHN GREEN,
MALINDA LO, JODI PICOULT, SCOTT
BONZ as parent and next friend of HAILIE
BONZ, IOWA STATE EDUCATION
ASSOCIATION, MARI BUTLER ABRY,
ALYSON BROWDER, and DANIEL
GUTMANN,

               Plaintiffs,

 vs.
                                                            Case No. 4:23-cv-00478
JOHN ROBBINS in his official capacity as
President of the Iowa State Board of Education,
MCKENZIE SNOW, in her official capacity as            ORDER GRANTING MOTION FOR
Director of the Iowa Department of Education,           PRELIMINARY INJUNCTION
CHAD JANZEN in his official capacity as
Chair of the Iowa State Board of Educational
Examiners, URBANDALE COMMUNITY
SCHOOL DISTRICT BOARD OF
DIRECTORS, ROSALIE DACA, in her official
capacity as Urbandale School District
Superintendent, NORWALK COMMUNITY
SCHOOL DISTRICT BOARD OF
DIRECTORS, and SHAWN HOLLOWAY, in
his official capacity as Norwalk Community
School District Superintendent,

               Defendants.




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I.     INTRODUCTION.
       Plaintiffs in two parallel cases seek a preliminary injunction against the enforcement of
Senate File 496, which, as relevant here, does three things: (1) requires the removal of any book
from Iowa public school libraries that contains a description or visual depiction of a “sex act”;
(2) forbids school districts, teachers, and other licensed professionals from, among other things,
providing programs, promotion, and instruction to students in grade six or below relating to
“gender identity” and “sexual orientation”; and (3) requires school districts to notify a child’s
parents if the child requests an accommodation relating to gender identity, such as asking to use
different pronouns than those in registration records.
       As to the book restrictions, the Court GRANTS the Motions for Preliminary Injunction
and ENJOINS the enforcement of Senate File 496. The law is incredibly broad and has resulted
in the removal of hundreds of books from school libraries, including, among others, nonfiction
history books, classic works of fiction, Pulitzer Prize winning contemporary novels, books that
regularly appear on Advanced Placement exams, and even books designed to help students avoid
being victimized by sexual assault. The sweeping restrictions in Senate File 496 are unlikely to
satisfy the First Amendment under any standard of scrutiny and thus may not be enforced while
the case is pending. Indeed, the Court has been unable to locate a single case upholding the
constitutionality of a school library restriction even remotely similar to Senate File 496.
       As to the restrictions on programs, promotion, and instruction relating to gender identity
and sexual orientation, there appears to be a severe misunderstanding—in two different ways—
by some of the parties about what Senate File 496 says. First, nothing in the law restricts the
ability of school districts, teachers, or other professionals to provide programs, promotion, and/or
instruction of gender identity and sexual orientation to students in grade seven and above. School
districts instead have full freedom to offer gay-straight alliances (“GSAs”) or similar clubs that
provide resources and support for LGBTQ+ students in grades seven and above. Teachers and
other licensed professionals are not restricted in any way from serving as advisors for such
GSAs, displaying rainbow flags, providing instruction on gay and transgender rights, and
otherwise performing their responsibilities in a manner that emphasizes inclusiveness and respect
for LGBTQ+ students in grades seven and above. Likewise, students in grade seven and above
are free to engage in whatever forms of expression they wish, subject only to generally
applicable restrictions that apply equally to all students. To the extent school districts, teachers,

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or students have been interpreting the law otherwise, they are simply wrong. It follows that none
of the Student Plaintiffs in grade seven or above have standing to challenge the restrictions in
Senate File 496 on programs, promotion, and instruction relating to gender identity and sexual
orientation. There is nothing for them to challenge.
       Second, but conversely, there is also a misunderstanding of Senate File 496 as it relates to
students in grade six and below. The law forbids programs, promotion, and instruction to
students in those grades relating to “gender identity” and “sexual orientation,” but those terms
are defined a neutral way that makes no distinction between cisgender or transgender identity or
gay or straight relationships. Meaning: on its face, the law forbids any programs, promotion, or
instruction recognizing that anyone is male or female or in a relationship of any sort (gay or
straight). The statute is therefore content-neutral but so wildly overbroad that every school
district and elementary school teacher in the State has likely been violating it since the day the
school year started. This renders the statute void for vagueness under the due process clause of
the Fourteenth Amendment because the State will have unfettered discretion to decide when to
enforce it and against whom, thus making it all but impossible for a reasonable person to know
what will and will not lead to punishment. Because at least two Plaintiffs—one fourth grade
student and one sixth grade teacher—have standing to challenge this aspect of Senate File 496,
the Court GRANTS the Motions for Preliminary Injunction and ENJOINS the enforcement of
the restrictions on programs, promotion and instruction relating to gender identity and sexual
orientation.
       Finally, no Plaintiff has standing to challenge the provisions of Senate File 496 requiring
school districts to notify a child’s parents if the child asks for the use of pronouns that do not
match the school’s registration records or otherwise seeks an accommodation relating to gender
identity. Only the GLBT Youth Student Plaintiffs challenge this portion of the law, but they are
all already “out” to their families and therefore not affected in a concrete way by this
requirement. Thus, the Court has no authority to do anything except DENY the GLBT Youth
Student Plaintiffs’ Motion for Preliminary Injunction as it relates to this aspect of Senate File
496.




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II.    FACTUAL AND PROCEDURAL BACKGROUND.
       A. Senate File 496.
       In late April 2023, the Iowa Legislature passed Senate File 496. The Governor signed the
bill into law on May 26, 2023. As relevant here, Senate File 496 amended Iowa law in three
primary ways, one relating to the availability of books and other materials in school library
programs, another addressing programs, promotion, and instruction relating to gender identity
and sexual orientation for students in grade six and below, and a third involving parental rights.
Some provisions took effect on or before July 1, 2023, while others are scheduled to take effect
on January 1, 2024.
               1. Provisions of Senate File 496 Relating to School Libraries.
       As it relates to school libraries, Senate File 496 amends Iowa Code § 256.11 to require
each school district to establish a “kindergarten through grade twelve library program that is
consistent with section 280.6 and with the educational standards established in this section,
contains only age-appropriate materials, and supports the student achievement goals of the total
school curriculum.” The phrase “age-appropriate” is newly defined in section 256.11(19) to
mean “topics, messages, and teaching methods suitable to particular ages or age groups of
children and adolescents, based on developing cognitive, emotional, and behavioral capacity
typical for the age or age group. ‘Age-appropriate’ does not include any material with
descriptions or visual depictions of a sex act as defined in section 702.17.” In turn, Iowa Code §
702.17 defines “sex act” to mean:
               any sexual contact between two or more persons by any of the following:
                  1. Penetration of the penis into the vagina or anus.
                  2. Contact between the mouth and genitalia or mouth and anus or by
                     contact between the genitalia of one person and the genitalia or
                     anus of another person.
                  3. Contact between the finger, hand, or other body part of one person
                     and the genitalia or anus of another person, except in the course of
                     examination or treatment by a [licensed professional].
                  4. Ejaculation onto the person of another.
                  5. By use of artificial sexual organs or substitutes therefor in contact
                     with the genitalia or anus.
                  6. The touching of a person’s own genitals or anus with a finger,
                     hand, or artificial sexual organ or other similar device at the
                     direction of another person.

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Senate File 496, on its face, does not permit school officials to take context into account when
determining whether a book is “age-appropriate” or contains a “sex act.” Meaning: the law
prohibits such books even if the “sex act” was, say, an impetus for legislation (e.g., books
describing the history of laws geared toward preventing sexual assault), important for historical
reasons (such as “sex acts” that played a central role in political campaigns or served as the basis
for impeaching a sitting president), or played an important role in an award-winning work of
fiction like explaining a character’s emotional development (as in the case of books written by
some Plaintiffs here). The law also prohibits students from being involved in deciding whether a
book should be removed or not. See Iowa Code § 279.81 (“[A] school district shall not allow a
student to serve on any committee that determines, or provides recommendations related to,
whether a material in a library operated by a school district should be removed.”).
        School districts and school employees are subject to graduated penalties for failing to
remove non-age-appropriate materials from school library programs. See Iowa Code §
256.11(9)(a)(2). For the first offense, the Iowa Department of Education “shall issue a written
warning to the board of directors of the school district or the employee, as applicable.” Id. For a
second or subsequent violation, the school district superintendent and/or employee “shall be
subject to a hearing conducted by the board of educational examiners pursuant to [Iowa Code §]
272.2, subsection 14, which may result in disciplinary action.” Id. The penalty provisions go into
effect on January 1, 2024. See id.
        On November 15, 2023, the Iowa State Board of Education issued Proposed Rules to
assist school officials in implementing Senate File 496. (Penguin House Docket 1 ECF 1-2.) The
Proposed Rules include a proposed new definition of “age-appropriate” in Iowa Admin. Code
281—12.2(256). (Id.) The proposed definition adopts the language of Iowa Code § 256.11(19)
verbatim but adds one sentence (in bold typeface, with the immediately-preceding language also
included for context): “ . . . ‘Age-appropriate’ does not include any material with descriptions or
visual depictions of a sex act. A reference or mention of a sex act in a way that does not
describe or visually depict a sex act as defined in that section is not included in the previous
sentence . . . .” (Id., p. 4.) The Iowa State Board of Education invited public comment and


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  All references to “Penguin House Docket ECF” are to the docket entries on the electronic case filing (“ECF”)
system in Case No. 4:23-cv-00478. All references to page numbers are to the auto-populated page numbers by the
ECF system, located in the upper-right corner of each page. These page numbers often do not correspond to the
numbers placed by the parties on the bottom of their filings.

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scheduled hearings for January 3 and 4, 2024. (Id., p. 3.) The Proposed Rules will not become
final, if they become final at all, until after the penalty provisions in Iowa Code § 256.11(9)(a)(2)
take effect on January 1, 2024.
       According to declarations submitted by the Penguin House Plaintiffs, the enactment of
Senate File 496 has led to many problems. First, there is widespread disagreement among school
districts regarding which books must be removed to comply with the law. (Penguin House
Docket ECF 34-9, ¶ 22; Penguin House Docket ECF 34-10, ¶¶ 13, 14.) Using five school
districts as examples, the Penguin House Plaintiffs have submitted lengthy charts showing
considerable variation in the books each district has concluded must be removed from school
libraries. (Penguin House Docket ECF 34-14; Penguin House Docket ECF 34-15.) For example,
the Nevada Community School District has removed 179 books that have not been identified for
removal by any of the other four exemplar school districts. (Penguin House Docket ECF 34-14.)
       Second, and relatedly, school officials are uncertain as to how to apply the “age-
appropriate” standard. (Penguin House Docket ECF 34-2, pp. 2–4.) The confusion has led school
districts and educators to err on the side of removing books out of fear of being penalized for
failing to do so. (Penguin House Docket ECF 34-11, ¶ 18.) In total, and just considering the
thirty-seven school districts that have made public the list of books they have removed from their
libraries, there are more than 500 books that have been removed from at least one school library
due to Senate File 496. (Penguin House Docket ECF 34-14.) Moreover, some teachers are
hesitant to purchase new books for students that even arguably might contain prohibited material.
(Penguin House Docket ECF 34-11, ¶ 15.) Many teachers have reduced or eliminated book
collections in their classrooms out of fear of retaliation or discipline. (Penguin House Docket
ECF 34-9, ¶ 12.) The Penguin House Plaintiffs allege that the Iowa State Board of Education did
not provide any guidance prior to issuing the Proposed Rules on November 15, 2023, and that
the Proposed Rules issued on that date do not provide adequate guidance for how to ensure
compliance with the law.
       Third, Senate File 496 has led to the removal from school libraries of non-fiction and
fiction books alike, across a variety of genres. (Penguin House Docket ECF 34-14.) For example,
school districts have removed well-known works of classic fiction by authors such as James
Joyce (Ulysses), William Faulkner (As I Lay Dying), Joseph Heller (Slaughterhouse Five),
Aldous Huxley (Brave New World), and Richard Wright (Native Son). (Id.) They also have

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removed award-winning books by contemporary authors like Toni Morrison (Beloved, Song of
Solomon, The Bluest Eye), Malinda Lo (Last Night at the Telegraph Club), Sapphire (Push: A
Novel), John Green (The Fault in Our Stars, Looking for Alaska), Jodi Picoult (Nineteen
Minutes), Laurie Halse Anderson (Speak, Shout), and Maya Angelou (I Know Why the Caged
Bird Sings), among many others. (Id.; see also Penguin House Docket ECF 34-1, ¶¶ 5, 6;
Penguin House Docket ECF 34-1.) Four of these authors are Plaintiffs in the Penguin House case
and allege that Senate File 496 has taken away an important channel for them to speak to
students—their intended audience—through their books. (Penguin House Docket ECF 34-5, ¶
11; Penguin House Docket ECF 34-6, ¶ 7; Penguin House Docket ECF 34-7, ¶ 8; Penguin House
Docket ECF 34-8, ¶ 7.) These authors also allege that Senate File 496 has stigmatized their
books by falsely labeling them as “pornography.” (E.g., Penguin House Docket ECF 34-8, ¶ 7.)
Students likewise allege that Senate File 496 has rendered them unable to read or discuss books
in school that they otherwise would have wanted to read and discuss. (Penguin House Docket
ECF 34-3, ¶ 6; Penguin House Docket ECF 34-4, ¶¶ 6, 8–10.)
               2. Provisions of Senate File 496 Relating to Gender Identity and Sexual
                  Orientation.
       Senate File 496 also enacted new Iowa Code § 279.80, entitled “Sexual orientation and
gender identity – prohibited instruction.” It states that “[a] school district shall not provide any
program, curriculum, test, survey, questionnaire, promotion, or instruction relating to gender
identity or sexual orientation to students in kindergarten through grade six.” Iowa Code §
279.80(2). “Gender identity” is defined in section 216.2(10) as “a gender-related identity of a
person, regardless of the person’s assigned sex at birth.” “Sexual orientation” is defined in
section 216.2(14) as “actual or perceived heterosexuality, homosexuality, or bisexuality.” The
Penguin House Plaintiffs argue that the plain language of section 279.80, when considered in
conjunction with the definitions in section 216.2 (which section 279.80 says must be applied),
make it impermissible for a book or lesson to mention gender identity (whether cisgender or
transgender) and/or sexual orientation (whether gay or straight). (Penguin House Docket ECF 34,
p. 12; Penguin House Docket ECF 34-10, ¶ 17.)
       The plain meaning of section 279.80 supports the Penguin House Plaintiffs’ position. The
phrase “gender identity” is defined neutrally in section 216.2(10) to include cisgender and
transgender students alike. Thus, for example, a biological girl who identifies as a girl has a
“gender identity” under the plain language of section 216.2(10) that cannot be the subject of a
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program, promotion, or instruction. Same for a biological boy who identifies as a boy. It follows
that any program, promotion, or instruction that refers to students in grade six or below as “boys”
or “girls” appears to be forbidden under the plain language of the statute. Schools apparently
cannot, for example, offer “boys” or “girls” basketball teams for sixth graders, as the existence of
such teams would amount to a “program [or] promotion . . . relating to gender identity.” The
same is true for “boys” and “girls” bathrooms: merely labeling them as such “promot[es]” the
concept of “gender identity,” in apparent violation of section 279.80. Similarly, under the plain
language of the statute, it appears that a teacher cannot instruct students to refer to the teacher as
“Mr. _______” or “Miss ______,” as this would be an “instruction” that “relat[es] to” the
teacher’s “gender identity,” which is a verboten topic. It also appears to be impermissible for
teachers to identify historical figures or literary characters as being either male or female or use
masculine or feminine pronouns to refer to them, as any such discussion would, again, amount to
promotion or instruction that relates to the person’s gender identity.
       The definition of “sexual orientation” is similarly neutral, as it encompasses “actual or
perceived heterosexuality, homosexuality, or bisexuality.” Iowa Code § 216.2(14). On its face,
this definition includes people who are heterosexual, homosexual, and bisexual alike. It
follows—again, under the plain language of Senate File 496—that schools apparently may not
provide students in grade six and below any program, promotion, or instruction relating to sexual
orientation in any form, including heteronormative relationships. This means teachers must, for
example, be careful when talking to students about their families, as any such discussion might
“promote” or “instruct” the idea that the student’s parents have a sexual orientation (gay or
straight), which is a forbidden topic. It likewise appears that teachers cannot incorporate
discussion of their own spouses—male or female—into classroom instruction, as this would
reveal the teachers’ sexual orientation and thus, again, amount to “instruction relating to . . .
sexual orientation.”
       Stated differently, opponents of Senate File 496 have sometimes described it as a “don’t
say gay” or “don’t say trans” bill. Based on the plain language of the statute, this is not an
accurate description. It is actually a “don’t say anything” bill. On its face, it prohibits school
districts and teachers from providing any program, promotion, and instruction that relates to
gender identity (cisgender or transgender) or sexual orientation (gay, straight, or otherwise) in
any way.

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        The Court understands, of course, that this is likely not what the Iowa Legislature was
trying to accomplish when it passed Senate File 496. Indeed, the State Defendants 2 and GLBT
Youth Plaintiffs alike characterize this interpretation of the law as “absurd,” and both argue—for
different reasons—that the law is designed to prohibit discussion of homosexuality and
transgenderism. (The Penguin House Plaintiffs, by contrast, correctly interpret the plain language
of the law.) The problem, however, is that the Court cannot interpret Senate File 496 as targeting
transgender identities and homosexual relationships without substituting the Court’s own choice
of words for the ones chosen by the Legislature. This the Court cannot do.
        The Penguin House Plaintiffs allege that section 279.80 is “vague and impossible to
apply in a consistent or constitutionally permissible manner.” (Penguin House Docket ECF 34, p.
12.) They argue that school officials are uncertain as to whether or how the law applies to school
libraries; for example, some districts have interpreted section 279.80 to mean that “libraries are
not allowed to have books that include LGBTQ+ characters.” (Penguin House Docket ECF 34-
10, ¶ 17.) Others have interpreted it, in conjunction with other aspects of Senate File 496, to
mean that students in grade six and below cannot have access to books with LGBTQ+ characters,
but those in grades seven through twelve are not so restricted (provided, of course, that the books
for seventh through twelfth graders are “age-appropriate” and do not contain “sex acts”). The
State Defendants concede, to some degree, that section 279.80 does not apply to school libraries,
although they also allege that it prohibits teachers in grades six and below from assigning or
reading books with gay or transgender characters. Similarly, one Iowa legislator made public
statements to the effect that the law is only intended to prohibit schools from making books with
gay or transgender characters available to students in kindergarten through sixth grade. (Penguin
House Docket ECF 34-18, p. 4.)
                 3. Provisions of Senate File 496 Relating to Parental Rights.
        Finally, Senate File 496 added various provisions to the Iowa Code related to parental
rights in education. Newly enacted Iowa Code § 601.1(2) states that “a parent or guardian bears
the ultimate responsibility, and has the fundamental, constitutionally protected right, to make
decisions affecting the parent’s or guardian’s minor child, including decisions relating to the
minor child’s medical care, moral upbringing, religious upbringing, residence, education, and

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 The Court will use “State Defendants” to refer, collectively, to Governor Kim Reynolds, McKenzie Snow, John
Robbins, Chad Janzen, the Iowa Department of Education, and the Iowa State Board of Education in the GLBT
Youth case and, collectively, John Robbins, McKenzie Snow, and Chad Janzen in the Penguin House case.

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extracurricular activities. Any and all restrictions of this right shall be subject to strict scrutiny.”
There are exceptions for emergency medical care and suspected child abuse. Iowa Code §
601.1(3), (4).
        Senate File 496 also enacted new Iowa Code § 279.78, entitled “Parental rights in
education.” Section 279.78(2) prohibits a school district from “knowingly giving false or
misleading information to the parent or guardian of a student regarding the student’s gender
identity or intention to transition to a gender that is different than the sex listed on a student’s
official birth certificate . . . .” Section 279.78(3) requires a “licensed practitioner” to inform a
school district administrator if a student “requests an accommodation that is intended to affirm
the student’s gender identity . . . including a request that the licensed practitioner address the
student using a name or pronoun that is different than the name or pronoun assigned to the
student in the school district’s registration forms or records.” In turn, the school district
administrator “shall report the student’s request to the student’s parent or guardian.” Id.
        The phrase “licensed practitioner” is defined, in two parts, in Iowa Code § 272.1.
“Licensed” means, in relevant part, “the authority that is given to allow a person to legally serve
as a practitioner,” while “practitioner” means “an administrator, teacher, or other licensed
professional, including an individual who holds a statement of professional recognition, who
provides educational assistance to students.” Iowa Code § 272.1(4), (7). Thus, the “licensed
practitioners” who must report requests for gender identity accommodations under section
279.78 include, among others, teachers, librarians, and administrators.
        Like the school library provisions, Senate File 496 establishes graduated penalties for
“licensed practitioners” who violate the disclosure requirements, starting with a “written
warning” from the Iowa Department of Education for a first offense, followed by a disciplinary
hearing, “which may result in disciplinary action,” for a second or subsequent offense. Iowa
Code § 279.78(4).
        B. Procedural History.
        The GLBT Youth Plaintiffs filed their Complaint and Motion for Preliminary Injunction
on November 28, 2023. (GLBT Youth Docket 3 ECF 1; GLBT Youth Docket ECF 2.) The


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  All references to “GLBT Youth Docket” are to the docket entries on the ECF system in Case No. 4:23-cv-00474.
All references to page numbers are to the auto-populated page numbers by the ECF system, located in the upper-
right corner of each page. These page numbers often do not correspond to the numbers placed by the parties on the
bottom of their filings.

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Penguin House Plaintiffs filed their Complaint on November 30, 2023, and Motion for
Preliminary Injunction on December 8, 2023. (Penguin House Docket ECF 1; Penguin House
Docket ECF 28.) The State Defendants resist each motion in its entirety. (GLBT Youth Docket
ECF 53; Penguin House Docket ECF 45.) The School District Defendants 4 take no position on
the motions, as they contend that they have no standing to challenge the constitutionality of a
state law and instead simply must follow it. (GLBT Youth Docket ECF 48; Penguin House
Docket ECF 40.) Separately, but on essentially the same grounds, the School District Defendants
have moved to dismiss. (GLBT Youth Docket ECF 51; Penguin House Docket ECF 46.)
        The Court has not formally consolidated the two cases, but, in the interest of efficiency,
held a single hearing on the separate motions for preliminary injunction. For similar efficiency
reasons, the Court is issuing this single ruling in both cases.
III.    PRELIMINARY INJUNCTION STANDARDS.
        “A preliminary injunction is an extraordinary remedy never awarded as of right.” Tumey
v. Mycroft AI, Inc., 27 F.4th 657, 664 (8th Cir. 2022) (quoting Winter v. Nat. Res. Def. Council,
Inc., 555 U.S. 7, 24 (2008)). “[T]he burden of establishing the propriety of an injunction is on the
movant.” Turtle Island Foods, SPC v. Thompson, 992 F.3d 694, 699 (8th Cir. 2021) (citation
omitted). The Court must consider four factors: “(1) the threat of irreparable harm to the movant;
(2) the state of the balance between this harm and the injury that granting the injunction will
inflict on other parties litigant; (3) the probability that [the] movant will succeed on the merits;
and (4) the public interest.” Sleep No. Corp. v. Young, 33 F.4th 1012, 1016 (8th Cir. 2022)
(alteration in original) (quoting Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 113 (8th Cir.
1981) (en banc)).
        “While no single factor is determinative, the probability of success factor is the most
significant.” Carson v. Simon, 978 F.3d 1051, 1059 (8th Cir. 2020) (cleaned up). For actions that
seek to enjoin the enforcement of a duly enacted state statute, the moving parties must show that
they are likely to prevail on their claims. D.M. by Bao Xiong v. Minn. State High Sch. League,
917 F.3d 994, 1000 (8th Cir. 2019). This is a higher standard than applies in other preliminary
injunction cases. See id. “We apply a higher standard in such instances because the duly enacted
state statute constitutes government action based on presumptively reasoned democratic


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 The Court will use “School District Defendants” to refer, collectively, to the School Districts, School District
Boards of Directors, School District Board Members, and School District Superintendents in both cases.

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processes, and such action is entitled to a higher degree of deference and should not be enjoined
lightly.” Id. (internal punctuation and citation omitted).
       With respect to the remaining three factors, a plaintiff “is not required to prove with
certainty the threat of irreparable harm, but it must prove that irreparable injury is likely in the
absence of an injunction.” Sleep No. Corp., 33 F.4th at 1018 (citations omitted). “Irreparable
harm occurs when a party has no adequate remedy at law, typically because its injuries cannot be
fully compensated through an award of damages.” General Motors Corp. v. Harry Brown's,
LLC, 563 F.3d 312, 319 (8th Cir. 2009). “In balancing the equities, [the Court] weigh[s] ‘the
threat of irreparable harm’ shown by the movant against ‘the injury that granting the injunction
will inflict on other parties litigant.’” MPAY Inc. v. Erie Custom Computer Applications, Inc.,
970 F.3d 1010, 1020 (8th Cir. 2020) (quoting Dataphase Sys., 640 F.2d at 113.) This “requires a
court to distinguish between weak or illusory injuries and very real threats of injuries.”
Rodriguez v. Molina, No. 422-cv-00183-SMR-HCA, 2022 WL 2287805, at *3 (S.D. Iowa June
24, 2022) (cleaned up). It considers harm to both the litigants and other interested parties, like
the public. Wachovia Sec., L.L.C. v. Stanton, 571 F. Supp. 2d 1014, 1047 (N.D. Iowa 2008). The
last factor, the public interest, “invites the court to indulge in broad observations about conduct
that is generally recognizable as costly or injurious.” Id. at 1048.
IV.    LEGAL ANALYSIS: STANDING.
       A. Legal Standards.
       The preliminary question is which of the plaintiffs in the two cases, if any, have standing
to challenge Senate File 496. To establish standing, “a plaintiff must present a ‘case’ or
‘controversy’ within the meaning of Article III of the Constitution.” Braden v. Wal-Mart Stores,
Inc., 588 F.3d 585, 591 (8th Cir. 2009). “This ‘irreducible constitutional minimum of standing’
requires a showing of ‘injury in fact’ to the plaintiff that is ‘fairly traceable to the challenged
action of the defendant,’ and ‘likely [to] be redressed by a favorable decision.’” Id. (quoting
Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992)).
“Whether a plaintiff has shown such an injury ‘often turns on the nature and source of the claim
asserted.’” Braden, 588 F.3d at 591 (quoting Warth v. Seldin, 422 U.S. 490, 500, (1975)). “[T]he
question whether he has a cognizable injury sufficient to confer standing is closely bound up
with the question of whether and how the law will grant him relief.” Braden, 588 F.3d at 591.



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       Both the GLBT Youth and Penguin House cases revolve primarily around the First
Amendment, in conjunction with the Fourteenth Amendment. “A plaintiff claiming an
abridgment of the [First Amendment] right to free speech has standing to seek pre-enforcement
review of a policy ‘under circumstances that render the threatened enforcement sufficiently
imminent.’” Parents Defending Educ. v. Linn Mar Cmty. Sch. Dist., 83 F.4th 658, 666 (8th Cir.
2023) (quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014)). “A plaintiff
satisfies the injury-in-fact requirement where he alleges ‘an intention to engage in a course of
conduct arguably affected with a constitutional interest, but proscribed by a statute, and there
exists a credible threat of prosecution thereunder.” Id. (quoting Driehaus, 573 U.S. at 159
(internal quotation omitted)).
       B. All Plaintiffs Have Standing to Challenge the Book Restrictions, But None Have
          Standing to Challenge the Parental Rights Provision and Only a Few Have Standing
          to Challenge the Restrictions on Programs, Promotion and Instruction Relating to
          Gender Identity and Sexual Orientation.
           1. Educator Plaintiffs.
       The Court will analyze standing in groups, starting with the educators (the “Educator
Plaintiffs”) in the Penguin House case. The Court concludes that the Educator Plaintiffs have
standing to challenge Senate File 496 with respect to both the book restrictions and the
restrictions on programs, promotion, and instruction relating to gender identity and sexual
orientation.
       As it relates to the latter, Plaintiff Daniel Gutmann has standing because he teaches sixth
grade students (among others) and therefore is directly implicated by the restrictions in Iowa
Code § 279.80. (Penguin House Docket ECF 34-12, ¶ 1.) In particular, he makes books available
to his students that he worries will be deemed to constitute a “program” or “promotion” relating
to gender identity and sexual orientation, resulting in potential sanctions against his licensure and
loss of employment. (Id., ¶ 13.) Gutmann has standing because he wishes to engage in speech
that is “arguably affected with a constitutional interest,” there is a credible threat of enforcement
if he does so, and his injury is fairly traceable to potential enforcement of the law by the Iowa
Department of Education or other state officials. See Parents Defending Educ., 83 F.4th at 666.
       Another Educator Plaintiff, Alyson Browder, teaches seventh grade but makes books
available to sixth, seventh, and eighth graders alike, some of which she fears (as to sixth graders)
will be considered “promotion” of gender identity or sexual orientation, causing her to limit the


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accessibility of those books to seventh and eighth graders only. (Penguin House Docket ECF 34-
11, ¶¶ 5–6, 14.) She worries that she will be subjected to sanctions against her licensure or loss
of employment if anyone makes a complaint against her regarding the books in her classroom.
(Id., ¶ 17.) She, too, has standing under Parents Defending Educ. to challenge the restrictions in
section 279.80 relating to gender identity and sexual orientation.
       The same is true for the third Educator Plaintiff, Mari Butler Abry, who is a school
librarian for her school district and involved in making decisions as to which books will be made
available to students in libraries throughout the district. (Penguin House Docket ECF 34-10, ¶¶ 1,
11.) As it relates to section 279.80, she has been required to remove materials that may be
deemed to constitute a “program” or “promotion” of gender identity or sexual orientation. (Id., ¶
12.) She worries that she will be subjected to sanctions against her licensure or termination of her
employment if she is deemed to have violated the law. (Id., ¶¶ 4–6.)
       Finally, the fourth Educator Plaintiff, the Iowa State Education Association (“ISEA”), has
organizational standing to challenge the restrictions on programs, promotion and instruction
relating to gender identity and sexual orientation because ISEA is a labor union that includes the
three other Educator Plaintiffs as members, along with thousands of other teachers and librarians
across the State of Iowa. (Penguin House Docket ECF 34-9, ¶¶ 4, 5.) Organizations “can assert
the standing of their members.” Summers v. Earth Island Inst., 555 U.S. 488, 494 (2009). In
addition, organizations have standing in some circumstances when “the interests at stake [are]
germane to the organization’s purpose.” Mo. Coal. for Env’t v. FERC, 544 F.3d 955, 957 (8th
Cir. 2008). Here, as it relates to restrictions on programs, promotion and instruction relating to
gender identity and sexual orientation, Senate File 496 directly affects ISEA’s members in a
manner that would give the members standing to sue in their own right because violations of the
law could lead to loss of the members’ licenses or employment. This is enough to give ISEA
itself standing. See Sierra Club v. U.S. Army Corps of Eng’rs, 645 F.3d 978, 986–88 (8th Cir.
2011) (holding that organizations had standing because, inter alia, individual members were at
imminent risk of concrete injury). Similarly, Senate File 496 threatens interests that are
“germane to [ISEA’s] purpose” of providing support for teachers and other licensed education
professionals. See Mo. Coal. for Env’t, 544 F.3d at 957 (holding that organization had standing
due to increased risk of harm to organization’s purpose). This, too, is sufficient to establish
standing.

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        During the preliminary injunction hearing, it briefly appeared that the dispute between
the Educator Plaintiffs and Defendants had been rendered moot with respect to the restrictions on
programs, promotion, and instruction relating to gender identity and sexual orientation. The State
Defendants conceded, to some degree, that these restrictions did not apply to library programs or
make it impermissible for a teacher to have a classroom library that includes books with gay
characters, same-sex relationships, or other discussion of gender identity or sexual orientation.
After drilling down further, however, the Court is unable to conclude the issue is moot. The State
Defendants walked back the concession to some degree, with their counsel acknowledging that a
teacher in grade six or below could not assign a book to students that contains a gay character.
(Tr. 5 84.) Moreover, the State Defendants’ concession appears to have been premised on their
position that section 279.80 only forbids “compulsory curriculum” related to gender identity or
sexual orientation. For reasons explained above, this premise is inconsistent with the plain
language of the law, which forbids a broader range of conduct, including “programs” and
“promotion,” among other things. Teachers like the Educator Plaintiffs here who make books
available to sixth graders for the specific purpose of, among other things, helping them
understand their sexuality, making them feel comfortable about who they are, or otherwise
addressing student questions or concerns have likely engaged in “promotion” of gender identity
and sexual orientation under the plain language of Senate File 496. The State Defendants’
promise not to enforce the law as written in such situations is therefore not enough to render the
dispute moot or defeat standing. See United Food & Com. Workers Int’l Union, AFL-CIO, CLC
v. IBP, Inc., 857 F.2d 422, 430 (8th Cir. 1988) (plaintiff had standing even though defendants
“had no present intention to enforce the statutes”); see also 281 Care Comm. v. Arenson, 638
F.3d 621, 628 (8th Cir. 2011) (plaintiffs had standing because they “alleged that they wish to
engage in conduct that could reasonably be interpreted as [violating the regulation]”).
        All four Educator Plaintiffs also have standing to challenge the aspects of Senate File 496
relating to the removal of books and other materials that are not “age-appropriate” as defined
under the law. As a school librarian, Abry is particularly affected by the “age-appropriate”
restrictions because she is at the center of her school district’s efforts to comply with Senate File
496. (Penguin House Docket ECF 34-10, ¶¶ 1, 11.) She will be subject to penalties, up to and


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 All cites to “Tr.” are to the rough draft of the transcript from the preliminary injunction hearing on December 22,
2023.

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including license suspension and termination of employment, if she violates Senate File 496.
(Id., ¶ 22.) The other Educator Plaintiffs—Browder and Gutmann—also maintain libraries or
book collections in their classrooms that are made available to students. (Penguin House Docket
ECF 34-11, ¶¶ 5, 13; Penguin House Docket ECF 34-12, ¶¶ 5, 6.) They, too, credibly worry that
they will be subject to penalties, up to and including license suspension and termination of
employment, if their classroom libraries include books or materials that are not “age-
appropriate” as defined under the law. (Penguin House Docket ECF 34-11, ¶ 17; Penguin House
Docket ECF 34-12, ¶ 13.) Indeed, according to information provided by the State Defendants,
the availability of books in the classroom (not merely the library) is part of what led to the
passage of Senate File 496. (Penguin House Docket ECF 45-1, p. 76.) It follows that there is a
substantial risk of classroom teachers being subject to discipline if they fail to follow the age-
appropriate requirements. This is enough to give the Educator Plaintiffs standing. Finally, the
ISEA has standing because its members would have individual standing in their own right and
Senate File 496 threatens interests germane to the organization’s interests. See, e.g., Sierra Club,
645 F.3d at 986–88; Mo. Coal. for Env’t, 544 F.3d at 957.
           2. Publisher/Author Plaintiffs.
       The Publisher/Author Plaintiffs are situated differently than the Educator Plaintiffs
because none of them are licensed by the State of Iowa or employed by an Iowa school district.
They therefore cannot “violate” Senate File 496 at all, much less in a way that would cause them
to face formal discipline. Even so, the Publisher/Author Plaintiffs have standing to challenge the
book restrictions in Senate File 496 due to the alleged impact on their First Amendment rights.
The Supreme Court has recognized that authors and publishers have standing to challenge
regulations that prohibit them from reaching their intended audience or impose financial
disincentives on their work. See Thornburgh v. Abbott, 490 U.S. 401, 408 (1989) (holding that
publishers had standing to challenge prison regulations limiting access to written materials);
Simon & Schuster, Inc. v. Members of N.Y. State Crime Victims Bd., 502 U.S. 105, 116 (1991)
(explaining that publishers and authors are interchangeable with respect to making First
Amendment challenge to statutory restrictions on book profits). Both are present here.
       The Publisher/Author Plaintiffs also have standing because they are “stigmatized” by the
removal of their books from public school libraries in Iowa. Elected officials in Iowa have
characterized Senate File 496 as being designed, in relevant part, to remove “pornography” from

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schools. The Publisher/Author Plaintiffs insist, however, that their books are not “pornography”
and that any discussion of sex acts instead serves an important literary purpose like helping
explain a character’s social or emotional development or sending a message about sexual assault,
bullying, or other topics of pedagogical importance to students. Under Eighth Circuit precedent,
the stigma associated with these works being banned from schools is a standalone basis for
standing. See Turkish Coal. of Am., Inc. v. Bruininks, 678 F.3d 617, 622–23 (8th Cir. 2012)
(holding that organization had standing due to stigma associated with its website being labeled
“unreliable” and included on the same list as websites denying the Holocaust); see also Meese v.
Keene, 481 U.S. 465, 467 (1987) (holding that state senator had standing to raise First
Amendment claim due to potential impact of law on his “personal, political, and professional
reputation”).
           3. Student Plaintiffs.
       One Plaintiff in the Penguin House case and eight Plaintiffs in the GLBT Youth case are
students. The Penguin House Student Plaintiff, Hailie Bonz, is a senior at Urbandale High
School and sues through her father as “next friend.” (Penguin House Docket ECF 1, ¶ 26.) She
has standing to challenge the “age-appropriate” book restrictions in Senate File 496 because they
directly limit the books and materials she can obtain from the school library. She does not
challenge the restrictions on programs, promotion, and instruction relating to gender identity and
sexual orientation, nor does she challenge the parental notification requirements.
       The GLBT Youth Student Plaintiffs include one elementary school student (fourth
grade), two middle school students (eighth grade), and five high school students, all of whom sue
through their parents as “next friends.” (GLBT Youth Docket ECF 1, ¶¶ 11–18.) They have
standing to challenge the “age-appropriate” book restrictions in Senate File 496 for the same
reason as Hailie Bonz.
       The GLBT Youth Student Plaintiffs also challenge the restrictions on programs,
promotion, and instruction relating to gender identity and sexual orientation, as well as the
parental notification requirements. The GLBT Youth Student Plaintiffs allege that these aspects
of Senate File 496 have caused them to “close[] off forms of expression in which they used to
engage.” (GLBT Youth Docket ECF 2-1, p. 12.) For example, they are “more reluctant to be
‘out’ about their identities at school,” “wear clothing that fits their identity or acknowledges
[their gender identity or sexual orientation],” ask teachers and fellow students to use preferred

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names and pronouns, or otherwise engage in forms of expression. (Id.) Even students with
supportive families have felt more isolated and hopeless at school. (Id., pp. 12–13.). An
organization called GLBT Youth in Iowa Schools Task Force (d/b/a “Iowa Safe Schools”) is also
a Plaintiff in the GLBT Youth case. (GLBT Youth Docket ECF 1, ¶ 8; see also id., p. 2.) It is a
not-for-profit organization based in Des Moines, Iowa, that provides resources and support for
students throughout Iowa. (Id., ¶ 8.) It serves at least 4,000 students representing over 100
Gender Sexuality Alliances (“GSAs”) in school districts across the state. (Id., ¶ 9.)
       The GLBT Youth Student Plaintiffs do not have standing to challenge the provisions of
Senate File 496 requiring teachers and other licensed professionals to notify parents when a
student has asked to have an “accommodation” relating to gender identity, such as the use of a
different name or pronoun. All GLBT Youth Student Plaintiffs report that they are already “out”
to their parents, families, and/or schools, and thus none of them are directly affected by this
feature of the law. (GLBT Youth Docket, ECF 2-2; ECF 2-3; ECF 2-4; ECF 2-5; ECF 2-6; ECF
2-7; ECF 2-9.) Instead, at most, they simply allege that the parental notification requirement
contributes to the overall perception that the law targets the LGBTQ+ student community. This
is not the type of concrete injury that confers standing. See, e.g., City of Los Angeles v. Lyons,
461 U.S. 95, 107 n.8 (1983) (explaining that standing requires real threats, not “subjective
apprehensions”). The Court therefore will not engage in further analysis of the constitutionality
of the parental notification requirements. The Court has no authority to enjoin them.
       Most of the GLBT Youth Student Plaintiffs also lack standing to challenge the
restrictions in Senate File 496 on programs, promotion, and instruction relating to gender identity
and sexual orientation in grade six and below. The injuries they have experienced—such as
feeling “closed off” or uncomfortable revealing their true identities at school—are based on a
misunderstanding of the law. Nothing in Senate File 496 prohibits them from expressing
themselves at school in the same manner they would have before the law was enacted. At most,
the GLBT Youth Student Plaintiffs have been harmed by their perception of the law rather than
its actual language. Standing does not exist in these circumstances. See Republican Party of
Minn., Third Cong. Dist. v. Klobuchar, 381 F.3d 785, 792–93 (8th Cir. 2004) (affirming
dismissal of First Amendment claim for lack of standing where the only alleged “chilling effect”
was on speech that was not forbidden by the statute).



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       Consider, for example, the GLBT Youth Student Plaintiffs’ argument that Senate File
496 makes them concerned about asking for support or guidance from high school teachers,
whom the Student Plaintiffs fear will get into trouble if they assist LGBTQ+ students. While the
Court does not doubt the sincerity of these concerns, they do not emanate from the language of
the statute. There is no restriction in Senate File 496 on the ability of school districts, teachers,
and other professionals to provide programs, promotion, and/or instruction relating to gender
identity and sexual orientation to students in grade seven and above. School districts may, for
example, offer GSAs that provide resources and support for LGBTQ+ students in those grades.
Indeed, it likely would be unconstitutional for a school district not to allow such GSAs in the
same manner as any other student club for grades seven and above. Similarly, teachers and other
licensed professionals are not restricted in any way from serving as advisors for such GSAs,
displaying rainbow flags, providing instruction on gay and transgender rights, and otherwise
performing their responsibilities in a manner that emphasizes inclusiveness and respect for
LGBTQ+ students in grades seven and above. The GLBT Youth Student Plaintiffs themselves
are similarly free to be “out” at school, join GSAs, communicate their support for LGBTQ+
rights, and otherwise do and say what they wish on topics of gender identity and sexual
orientation. To the extent the GLBT Youth Student Plaintiffs in grades seven and above are
interpreting the law as forbidding such activities, they are incorrect. It follows that the GLBT
Youth Student Plaintiffs in grades seven and above (which is all but one of the GLBT Youth
Student Plaintiffs) do not have standing to challenge the restrictions on programs, promotion,
and instruction relating to gender identity and sexual orientation. See Klobuchar, 381 F.3d at
792–93; see also Laird v. Tatum, 408 U.S. 1, 13 (1972) (plaintiffs lacked standing to raise First
Amendment challenge where alleged injuries merely included perception that government action
was improper and “speculative apprehensiveness” for how they might be affected).
       Only one GLBT Youth Student Plaintiff, A.C., is in grade six or below and therefore
directly affected by the restrictions in Senate File 496 on programs, promotion, and instruction
relating to gender identity and sexual orientation. As a fourth grader, those restrictions squarely
apply in A.C.’s classroom and thus place her in a different position than all other GLBT Youth
Student Plaintiffs. Still, the State Defendants argue that Senate File 496 does not limit A.C.’s
free speech rights because the penalty provisions only apply to teachers or other licensed



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practitioners. In other words, they argue, A.C. cannot be “punished” for saying or doing
anything.
        The Court concludes, for three reasons, that A.C. nonetheless has standing. First,
although Senate File 496 does not mention penalties against students, students nonetheless
remain subject to generally applicable disciplinary policies and procedures. These policies and
procedures must, among other things, “provide opportunities for students to exercise self-
discipline and practice cooperative classroom behavior.” Iowa Code § 279.66. If A.C. tried to
express herself in the classroom as being transgender, give a presentation on transgender rights,
or ask questions about the gender identity or sexual orientation of a book’s characters, this would
disrupt the class by raising topics that the teacher could not allow the class to discuss. If the
disruption was pervasive enough, this could lead to a verbal admonishment, trip to the principal’s
office, or some other form of discipline for A.C. This is enough to establish standing. See
Parents Defending Educ., 83 F.4th at 666 (potential for discipline on the basis of speech is
sufficient to establish standing)
        Second, regardless of who can be punished for violating the law, Senate File 496 forces
students like A.C. to engage in self-censorship. Unless she was intentionally trying to be
disruptive (which, again, would lead to potential discipline in its own right), it would be pointless
for A.C. to bring up a subject like gender identity or sexual orientation in the classroom that she
knows the teacher cannot discuss or allow other students to discuss. Thus, “the alleged danger of
this statute is, in large measure, one of self-censorship; a harm that can be realized even without
an actual prosecution.” Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S. 383, 393 (1988); see
also Parents, Fams., & Friends of Lesbians & Gays, Inc. v. Camdenton R-III Sch. Dist., 853 F.
Supp. 2d 888, 897 (W.D. Mo. 2012) (concluding that student had standing to sue based on
chilling effect of school district regulation).
        Third, because section 279.80 prohibits “promotion” of gender identity or sexual
orientation for students in grade six and below, a reasonable school district could interpret it as
forbidding students in those grades, such as A.C., from being allowed to join GSAs and other
student organizations designed to provide support for transgender and gay students. This, in turn,
impairs A.C.’s First Amendment right to free speech in the form of freedom of expressive
association. See, e.g., Gay & Lesbian Students Ass’n v. Gohn, 850 F.2d 361, 368 (8th Cir. 1988).



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A.C. therefore has standing to challenge the restrictions on programs, promotion, and instruction
relating to gender identity and sexual orientation. See id.
           4. Standing: Summary.
       In summary, the Court concludes: (i) all Penguin House Plaintiffs and all GLBT Youth
Plaintiffs have standing to challenge the book restrictions in Senate File 496; (ii) the Educator
Plaintiffs (Gutmann, Abry, Browder, and ISEA) in the Penguin House case have standing to
challenge the restrictions in Senate File 496 on programs, promotion, and instruction relating to
gender identity and sexual orientation; (iii) one GLBT Youth Student Plaintiff, A.C., has
standing to challenge the restrictions in Senate File 496 on programs, promotion, and instruction
relating to gender identity and sexual orientation; and (iv) no GLBT Youth Student Plaintiffs
have standing to challenge the parental notification requirements in Senate File 496.
V.     LEGAL ANALYSIS: THE CONSTITUTIONALITY OF SENATE FILE 496 AS IT
       RELATES TO SCHOOL LIBRARY PROGRAMS.
       To evaluate the constitutionality of Senate File 496, it is important to start by identifying
the constitutional rights at issue. Broadly speaking, all parties agree that the cases revolve in
large part around the First Amendment. Beyond this broad agreement, however, the parties
disagree on the proper formulation of the specific rights at issue; i.e., the First Amendment right
to do what? The parties further disagree on the appropriate standard that must be applied. The
Court therefore must begin by: (i) identifying the constitutional rights implicated by the
challenges to each of the provisions of Senate File 496; and (ii) determining the governing
standard for evaluating the law’s constitutionality. As explained below, existing Supreme Court
and Eighth Circuit precedent provide helpful guidance in some ways but very little clarity in
others. The most enduring lesson appears to be that there is no single standard of scrutiny that
applies to restrictions on First Amendment rights in the school setting; instead, there is a sliding
scale that varies according to context.
       A. The Book Restrictions in Senate File 496 Implicate Constitutional Issues in At Least
          Three Ways, Each With its Own Level of Scrutiny.
       As it relates to book restrictions in school libraries, there are at least three different forms
of constitutional analysis that must be undertaken, only one of which is governed by a clear
standard under existing Supreme Court and Eighth Circuit precedent. For reasons explained
below, the Court concludes that the issues and governing standards are as follows: First, the
Student Plaintiffs have the First Amendment right to receive information in school libraries free

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from suppression based on viewpoint, ideology, or other reasons amounting to the suppression of
ideas. The constitutionality of the book restrictions in Senate File 496 depends on whether the
State Defendants have shown a “substantial and reasonable governmental interest” for those
restrictions. Second, the Publisher/Author Plaintiffs and Student Plaintiffs have affirmative First
Amendment free speech rights that require the Court to decide whether Senate File 496 is
overbroad. The applicable standard of scrutiny is unclear but somewhat higher than the
“substantial and reasonable governmental interest” test and must take into account the extent to
which the “age-appropriate” standard in Senate File 496 deviates from the definition of
“obscenity” for adults, as reasonably adjusted for minors. Third, the Educator Plaintiffs have the
Fourteenth Amendment due process right to be free from laws that are so vague that a person of
ordinary intelligence does not have fair notice of what is prohibited.
               1. The Student Plaintiffs Have a First Amendment Right to Receive Information
                  in School Libraries, But This Right May Be Limited When There Is a
                  “Substantial and Reasonable Governmental Interest.”
       The Student Plaintiffs in the Penguin House and GLBT Youth cases assert, first, that they
have a constitutional right to receive information through their school libraries. The State
Defendants deny that any such constitutional right exists and argue, in any event, that Senate File
496 does not violate it. The Court agrees with the Student Plaintiffs that they have a First
Amendment right to receive information in the circumstances presented here.
       The Supreme Court and Eighth Circuit have each addressed the constitutionality of
restrictions on access to books and other materials in school libraries: the former in Board of
Education, Island Trees Union Free School District No. 26 v. Pico, 457 U.S. 853 (1982), and the
latter in Pratt v. Independent School District No. 831, Forest Lake, Minnesota, 670 F.2d 771 (8th
Cir. 1982). In Pico, a local school board ordered the removal of nine books from school libraries
based on the board’s belief that the content of the books did not match their “conservative
educational philosophy” and were “irrelevant, vulgar, immoral, and in bad taste.” 457 U.S. at
859 (plurality opinion). The Supreme Court was asked to decide whether the school board’s
actions violated the students’ First Amendment rights.
       The Supreme Court’s decision was fractured, with a three-justice plurality opinion
concluding the board’s actions would violate the First Amendment if the board members
removed the books “simply because they dislike the ideas contained in those books and seek by
their removal to ‘prescribe what shall be orthodox in politics, nationalism, religion, or other

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matters of opinion.’” Id. at 872 (plurality opinion) (quoting W. Va. Bd. of Educ. v. Barnette, 319
U.S. 624, 642 (1943)). A fourth justice mostly agreed with the plurality opinion but offered a
“somewhat different perspective on the nature of the First Amendment right involved,” namely,
that “the State may not suppress exposure to ideas—for the sole purpose of suppressing exposure
to those ideas—absent sufficiently compelling reasons.” Id. at 877 (Blackmun, J., concurring). In
dissent, four justices concluded that the First Amendment does not encompass “a right to have
particular books retained on the school library shelf.” Id. at 888 (Burger, C.J., dissenting). Three
of those same dissenting justices also recognized, however, that school boards may not exercise
their discretion to “determine the content of their school libraries . . . in a narrowly partisan or
political manner.” Id. at 907 (Rehnquist, J., dissenting). Finally, one justice—the deciding vote—
concluded the Court should not decide the constitutional question at all and instead should
simply remand for trial. Id. at 883 (White, J., concurring in the judgment). Despite not having the
support of any of his colleagues, Justice White’s concurring opinion carried the day and resulted
in remand.
           Notwithstanding the splintered nature of the decision, Pico provides some guidance that
remains applicable today. Almost all the justices concluded that school boards can violate the
Constitution in some circumstances when making decisions about whether to remove books from
the school library. Indeed, then-Justice Rehnquist, in an otherwise forceful dissent, “cheerfully
concede[d]” that school boards would violate the Constitution if they removed all books “written
by or in favor of Republicans” or “an all-white school board, motivated by racial animus,
decided to remove all books authored by blacks or advocating racial equality and integration.
Our Constitution does not permit the official suppression of ideas.” Id. at 907 (Rehnquist, J.,
concurring) (quoting id. at 871 (plurality opinion)). In addition, “all Members of the Court,
otherwise sharply divided, acknowledged that the school board has the authority to remove
books that are vulgar.” Bethel Sch. Dist. No. 403 v. Fraser, 478 U.S. 675, 684 (1986) (discussing
Pico). Beyond these areas of agreement, however, it would be difficult to apply Pico without
additional guidance.
           Fortunately, Pico does not stand alone in the universe of precedential cases involving the
removal of books from school libraries. In Pratt, the Eighth Circuit addressed the same issue,
stating:



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               There has been a flurry of cases recently in which the federal courts have
               considered First Amendment challenges to the removal of books from
               libraries. Those courts have generally concluded that a cognizable First
               Amendment claim exists if the book was excluded to suppress an
               ideological or religious viewpoint with which the local authorities
               disagreed . . . We believe that this focus provides the proper framework
               for analysis here.
670 F.2d at 776. Pratt held that “to avoid a finding that it acted unconstitutionally, the board
must establish that a substantial and reasonable governmental interest exists for interfering with
the students’ right to receive information.” Id. at 777. “At the very least, the First Amendment
precludes local authorities from imposing a ‘pall of orthodoxy’ on classroom instruction which
implicates the state in the propagation of a particular religious or ideological viewpoint.” Id. at
776. Based on Pico and Pratt, the Court concludes that: (a) the Student Plaintiffs have a First
Amendment right not to have books and materials removed from the school library based on
ideological, religious, or other grounds designed to suppress ideas or impose a “pall of
orthodoxy” over the classroom; and (b) the State must establish a “substantial and reasonable
governmental interest” that justifies the school library restrictions. See Pratt, 670 F.2d at 776–77;
see also Campbell v. St. Tammany Par. Sch. Bd., 64 F.3d 184, 189 (5th Cir. 1995) (applying
“greater scrutiny” to school board’s decision to remove books than would apply in a decision
involving school curriculum).
           2. The Publisher/Author Plaintiffs and Student Plaintiffs Have First Amendment
              Free Speech Rights Against Overbroad Restrictions.
       In addition to asking the Court to apply Pico and Pratt, the GLBT Youth Plaintiffs and
Penguin House Plaintiffs urge the Court to evaluate the book restrictions in Senate File 496
pursuant to the overbreadth doctrine and with reference to the adult “obscenity” standard, as
adjusted for minors. “[A] law may be invalidated as overbroad if ‘a substantial number of its
applications are unconstitutional, judged in relation to the statute’s plainly legitimate sweep.’”
United States v. Stevens, 559 U.S. 460, 473 (2010) (quoting Wash. St. Grange v. Wash. St.
Repub. Party, 552 U.S. 442, 449 n.6 (2008)). “Invalidation for overbreadth is ‘strong medicine’
that is not to be casually employed.” United States v. Williams, 553 U.S. 285, 293 (2008) (some
internal punctuation omitted).
       To determine the appropriate standard for the overbreadth challenge, it is necessary to
evaluate whose First Amendment rights are at issue, and what those rights are. For the
Publisher/Author Plaintiffs, this is a straightforward task. Their First Amendment free speech
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rights are impaired when a state law limits their ability to reach their intended audience based on
the content of their speech. See Thornburgh, 490 U.S. at 408. Their rights are similarly impaired
when a law stigmatizes their reputations by implying that their books are pornographic or
otherwise unsuitable for the target audience. See Bruininks, 678 F.3d at 622–23. The overbreadth
analysis for the Publisher/Author Plaintiffs therefore emanates from their affirmative First
Amendment free speech rights.
       It is less clear whether Senate File 496 impairs the affirmative free speech rights of the
Student Plaintiffs, although the Court concludes that it does. The State Defendants insist that
students may read and discuss any of the books in question in school; they simply must obtain
them somewhere other than the school library. The Court does not read the law so narrowly. As
amended by Senate File 496, the unnumbered introductory paragraph of Iowa Code § 256.11
“require[s]” schools to implement an educational program that “shall be taught from an age-
appropriate, multicultural, and gender-fair approach.” By using the words “require” and “age-
appropriate,” the Legislature has tied in the definition of “age-appropriate” from Senate File 496
in a way that appears to prohibit teachers and students from using books that depict “sex acts” in
any aspect of the curriculum at any grade level. See Iowa Code § 256.11(19) (defining “age-
appropriate”). Or, at least, this is how a reasonably cautious school district or teacher would
interpret the law. See Parents Defending Education, 83 F.4th at 668–69 (rejecting school board’s
argument about the purportedly narrow scope of a policy because “the plain meaning of the
policy is not so limited”). If so, a student likely would be prohibited from using a book that
contains a “sex act” for a book report, essay, or other project. This, in turn, will limit the
student’s ability to “engage in an ‘open exchange of ideas’ and to express beliefs that others
might find disagreeable or offensive.” Id. at 667; see also Camdenton R-III Sch. Dist., 853 F.
Supp. 2d at 897 (finding standing where regulation had chilling effect on student speech).
       The next question is what standard of scrutiny the Court should apply. The answer is
unclear because the Supreme Court has never settled on a single, governing standard for First
Amendment challenges in school settings. In Tinker v. Des Moines Independent Community
School District, for example, the Supreme Court held that schools could not restrict student
speech unless the speech would “materially and substantially disrupt the work and discipline of
the school.” 393 U.S. 503, 506 (1969). In later cases, however, the Supreme Court emphasized
that the “mode of analysis set forth in Tinker is not absolute” and “the constitutional rights of

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students in public school are not automatically coextensive with the rights of adults in other
settings.” Morse v. Frederick, 551 U.S. 393, 404–05 (2007). In two of the most recent school
First Amendment cases, the Supreme Court conspicuously declined to endorse any particular
standard of scrutiny. See id. at 404 (“We need not resolve this debate [about the appropriate level
of scrutiny] to decide this case.”); see also Mahanoy Area Sch. Dist. v. B.L. by & through Levy,
141 S. Ct. 2038, 2047–48 (2021). As relevant here, the main takeaway from these cases is that
there is no one-size-fits-all standard for school-related First Amendment challenges.
       Senate File 496 is a perfect illustration for why the Supreme Court has been unable to
settle on a single standard of scrutiny in the school setting. On the surface—and as discussed in
the preceding section—Senate File 496 resembles cases like Pico and Pratt because it involves
restrictions on the contents of school libraries. Hence the Court’s conclusion above that it should
apply the “substantial and reasonable governmental interest” test from Pratt. Closer review,
however, shows a gaping difference between the Pico/Pratt line of cases and the book
restrictions in Senate File 496. This difference causes the Court to conclude that Senate File 496
also must be evaluated under a separate and somewhat more burdensome level of scrutiny as it
relates to the free speech rights of the Publisher/Author Plaintiffs and Student Plaintiffs.
       The Court reaches this conclusion because Pico and Pratt each involved one school
board’s decision to remove a small number of materials—nine books in Pico, 457 U.S. at 858,
and a single film (plus a trailer for the same film) in Pratt, 670 F.2d at 773. Other reported cases
emanating from Pico similarly involve the removal of a small number of books or materials by a
local school board. See, e.g., Am. C.L. Union of Fla., Inc. v. Miami-Dade Cnty. Sch. Bd., 557
F.3d 1177 (11th Cir. 1995) (one book); Campbell, 64 F.3d at 185 (one book); Bicknell v.
Vergennes Union High Sch. Bd. of Directors, 638 F.2d 438 (2d Cir. 1980) (two books); Zykan v.
Warsaw Cmty. Sch. Corp., 631 F.2d 1300, 1308 (7th Cir. 1980) (one book); Cary v. Bd. of Ed. of
Adams-Arapahoe Sch. Dist. 28-J, Aurora, Colo., 598 F.2d 535 (10th Cir. 1979) (ten books);
C.K.-W. by & through T.K. v. Wentzville R-IV Sch. Dist., 619 F. Supp. 3d 906, 910 (E.D. Mo.
2022) (eight books); Virgil v. Sch. Bd. of Columbia Cnty., Fla., 677 F. Supp. 1547 (M.D. Fla.
1988) (one textbook); Salvail v. Nashua Bd. of Ed., 469 F. Supp. 1269 (D.N.H. 1979) (one
magazine). One of the recurring tensions in these cases is whether and to what extent federal
judges should get into the business of reviewing ad hoc decisions by local school boards
regarding the removal of individual books from school libraries. See, e.g., Pico, 457 U.S. at 890–

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91 (Burger, C.J., dissenting) (“Discretion must be used, and the appropriate body to exercise that
discretion is the local elected school board, not judges . . . [L]ocal control of education involves
democracy in a microcosm. In most public schools in the United States the parents have a large
voice in running the school.”).
       Here, by contrast, the evidence shows that the Iowa Legislature enacted Senate File 496
because local school boards would not remove books from school libraries. (See, e.g., Penguin
House Docket ECF 45-1, pp. 47–48, 50–59, 73–76.) In other words, the Legislature was
dissatisfied with local decision-making by local officials and decided an across-the-board
solution was necessary for a problem that local school boards apparently did not believe existed
in the first place. The result is a statewide law that has thus far been interpreted as requiring the
removal of, collectively, more than 500 books. (See Penguin House Docket ECF 34-14.) Senate
File 496 sweeps so broadly that Iowa school districts have, by way of example, removed:
               •   historical classics like As I Lay Dying (William Faulkner), Ulysses
                   (James Joyce), Brave New World (Aldous Huxley), The Picture of
                   Dorian Gray (Oscar Wilde), and Native Son (Richard Wright);
               •   modern award-winners like I Know Why the Caged Bird Sings (Maya
                   Angelou), Song of Solomon, Beloved, and The Bluest Eye (Toni
                   Morrison), The Kite Runner (Khaled Hosseini), Nineteen Minutes (Jodi
                   Picoult), Speak and Shout (Laurie Halse Anderson), Looking for
                   Alaska and The Fault in Our Stars (John Michael Green), and Last
                   Night at the Telegraph Club (Malinda Lo);
               •   non-fiction books designed to help minors avoid being victimized by
                   sexual assault, Sexual Predators (Laurie Willis, ed.), and The Truth
                   About Rape (Robert Golden, ed.);
               •   non-fiction history books about the Holocaust, Night (Elie Wiesel),
                   and the massacre of innocent civilians in China in the early stages of
                   World War II, The Rape of Nanking (Iris Chang);
               •   non-fiction books about how to make safe and informed decisions
                   about sex, Making Sexual Decisions (L. Kris Gowen); and
               •   dozens (if not hundreds) of other works of fiction geared toward the
                   emotional and intellectual challenges associated with being a junior
                   high school or high school student.
(Penguin House Docket ECF 34-14.) The State Defendants have not identified, nor has the Court
been able to locate, a single case upholding school library restrictions as broad as those set forth
in Senate File 496. In essence, the Iowa Legislature has used a bulldozer where school boards in
prior cases merely employed a scalpel.

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       Against this backdrop, it is difficult to conclude that the mode of analysis in the Pico line
of cases is the exclusive—or even most appropriate—method for evaluating the constitutionality
of Senate File 496. Indeed, Pico contemplates that courts will analyze the subjective motivations
of each school board member to determine why individual books were removed from a school
library. See, e.g., Campbell, 64 F.3d at 190. This is very difficult in the context of a statewide
law enacted through the votes of more than one hundred legislators and resulting in the removal
of more than 500 books. There could be one hundred different answers for why each of the 500
books was removed.
       The Court therefore agrees with the Penguin House Plaintiffs that the analysis must go
beyond Pico and take into account Supreme Court precedent from related First Amendment
areas, including, especially, the obscenity doctrine. In Miller v. California, the Supreme Court
defined “obscenity” as “works which, taken as a whole, appeal to the prurient interest in sex,
which portray sexual conduct in a patently offensive way, and which, taken as a whole, do not
have serious literary, artistic, political, or scientific value.” 413 U.S. 15, 23–24 (1973). The
Penguin House Plaintiffs correctly admit that school districts have greater freedom to remove
books from school libraries and curricula than just those that meet the adult obscenity standard.
See Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 266 (1988) (“[T]he First Amendment
rights of students in the public schools are not automatically coextensive with the rights of adults
in other settings . . . and must be applied in light of the special characteristics of the school
environment.” (internal punctuation and citations omitted)). In other words, the Iowa Legislature
was not constitutionally required to adopt the adult obscenity standard in Senate File 496.
       All the same, the Supreme Court has repeatedly recognized that laws imposing
restrictions on the availability of materials for minors must be at least somewhat tethered to the
adult obscenity standard. For example, in Ginsberg v. State of New York, the Supreme Court
upheld a New York law prohibiting bookstores from selling certain books to minors. 390 U.S.
629 (1968). The law used a watered-down version of the then-prevailing adult definition of
“obscenity,” with the restrictions limited to books with “nudity, sexual conduct, sexual
excitement, or sadomasochistic abuse [that] (i) predominantly appeals to the prurient, shameful
or morbid interest of minors, and (ii) is patently offensive to prevailing standards in the adult
community as a whole with respect to what is suitable material for minors, and (iii) is utterly
without redeeming social importance for minors.” Id. at 646 (emphasis added). Ginsberg held

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that it was permissible for a state to “adjust[] the definition of obscenity ‘to social realities by
permitting the appeal of this type of material to be assessed in terms of the sexual interests . . . of
such minors.’” Id. at 638 (quoting Mishkin v. State of N.Y., 383 U.S. 502, 509 (1966)).
       Later Supreme Court cases have repeatedly attached significance to the fact that Ginsberg
started with the adult definition of “obscenity” when determining which materials could not be
made available to minors. In Erznoznik v. City of Jacksonville, for example, the Supreme Court
struck down a city ordinance prohibiting films with nudity from being shown in drive-in theaters.
422 U.S. 205 (1975). Erznoznik rejected the city’s argument that the ordinance was designed to
protect against the possibility of minors viewing the films, holding that “[c]learly all nudity
cannot be deemed obscene even as to minors.” See id. at 213 n.10. Erznoznik suggested the
Ginsberg standard—which is characterized as a “variation of the adult obscenity standards”—
would have been a more appropriate mechanism for protecting against First Amendment
concerns than an across-the-board prohibition with no room for nuance. See id. Similarly, in
Reno v. American Civil Liberties Union, the Supreme Court struck down portions of the
Communications Decency Act on First Amendment grounds, in part because the law did not
adopt the Ginsberg standard or otherwise allow for consideration of whether the restricted
materials had serious literary, artistic, political, or scientific value. 521 U.S. 844, 865 (1997).
Finally, in Brown v. Entertainment Merchants Association, the Supreme Court reiterated the
importance of “adjust[ing] the definition of obscenity” as it relates to minors as opposed to
dispensing with the definition altogether. 564 U.S. 786, 794 (2011). Brown explained that
“[s]peech that is neither obscene as to youths nor subject to some other legitimate proscription
cannot be suppressed solely to protect the young from ideas or images that a legislative body
thinks unsuitable for them.” Id. at 795 (quoting Erznoznik, 422 U.S. at 213–14).
       Ginsberg, Erznoznik, Reno, and Brown recognize a sort of “obscenity-light” standard for
minors that must be considered when a legislature enacts a law with sweeping implications on
the ability of minors to access books or other materials. Given that Senate File 496 is a statewide
law with across-the-board implications for publishers, authors, teachers, and students—as
opposed to an isolated decision about an individual book by a local school board—the Court
concludes that the obscenity-light standard must play a role in deciding whether the book
restrictions in Senate File 496 comply with the First Amendment. The closer Senate File 496
comes to the obscenity-light standard, the more likely it is to pass constitutional muster.

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               3. The Educator Plaintiffs Have the Due Process Right to Fair Notice of
                  Prohibited Conduct.
       The final constitutional question is whether the book restrictions in Senate File 496 are
void for vagueness in violation of the due process rights of the Educator Plaintiffs, who are
subject to discipline if they violate the age-appropriate standard. Unlike the other constitutional
questions, the governing legal principles are clear: a statute “is unconstitutionally vague if it fails
to ‘provide adequate notice of the proscribed conduct’ and lends ‘itself to arbitrary
enforcement.’” Parents Defending Educ., 83 F.4th at 668 (quoting United States v. Barraza, 576
F.3d 798, 806 (8th Cir. 2009)). School policies “need not be as detailed as a criminal code that
imposes criminal sanctions.” Id. “But when a school policy reaches speech protected by the First
Amendment, the vagueness doctrine ‘demands a greater degree of specificity than in other
contexts.’” Id. (quoting Stephenson v. Davenport Comm. Sch. Dist., 110 F.3d 1303, 1308–09 (8th
Cir. 1997)). “As such, ‘while a lesser standard of scrutiny is appropriate because of the public
school setting, a proportionately greater level of scrutiny is required because the regulation
reaches the exercise of free speech.’” Id. (quoting Stephenson, 110 F.3d at 1308–09).
               4. The School Library Restrictions in Senate File 496 Are Not “Government
                  Speech.”
       Before turning to the merits, one other issue warrants attention. The State Defendants
urge the Court not to apply any of the standards described above, but rather to treat the book
restrictions in Senate File 496 as a form of “government speech” for which no First Amendment
rights are implicated at all. See People for the Ethical Treatment of Animals, Inc. v. Gittens, 414
F.3d 23, 28 (D.C. Cir. 2005) (“The First Amendment’s Free Speech Clause does not limit the
government as speaker.”). The State Defendants’ position arises largely out of the Supreme
Court’s plurality opinion in United States v. American Library Association, Inc., which held that
a public library is not a “traditional” or “designated” public forum for First Amendment purposes
and therefore does not need to satisfy heightened constitutional scrutiny when deciding which
content to include in a collection. 539 U.S. 194, 205 (2003) (“Public library staffs necessarily
consider content in making collection decisions and enjoy broad discretion in making them.”);
see also Gittens, 414 F.3d at 28 (“With respect to the public library, the government speaks
through its selection of which books to put on the shelves and which books to exclude.”).
       There are several problems with the State Defendants’ argument. First, Pico, Pratt, and
other cases recognize that the removal of books from a school library is different for First

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Amendment purposes than the acquisition of books. See Pratt, 670 F.2d at 776
(“Notwithstanding the power and discretion accorded them, school boards do not have an
absolute right to remove materials from the curriculum.”); Fayetteville Pub. Lib. v. Crawford
Cnty., Ark., No. 5:23-CV-05086, 2023 WL 4845636, at *20 (W.D. Ark. July 29, 2023) (“Setting
aside Pico, Defendants are unable to cite any legal precedent to suggest that the state may censor
non-obscene materials in a public library because such censorship is a form of government
speech.”). As binding Eighth Circuit precedent, the Court cannot ignore Pratt without clear
guidance from a higher court that it is no longer good law. None of the cases cited by the State
Defendants provide that level of clarity.
          Second, the fact that a library is not a “traditional” or “designated” public forum with
respect to the selection of content does not mean content decisions are altogether free from First
Amendment scrutiny. Instead, courts have recognized that libraries are a “limited public forum”
for which the government may not impose unreasonable or viewpoint-specific restrictions. See
Kreimer v. Bureau of Police for Town of Morristown, 958 F.2d 1242, 1261 (3d Cir. 1992); see
also Christian Legal Soc. Chapter of the Univ. of Cal., Hastings Coll. of the Law v. Martinez,
561 U.S. 661, 679 n.11 (2010) (describing the standard for a limited public forum). This is
similar—if not identical—to the “substantial and reasonable governmental interest” standard
applied in Pratt.
          Third, Am. Libr. Ass’n involved Internet filtering restrictions imposed by Congress on
public libraries that receive federal assistance. The case therefore addressed the limits on
Congress’s spending power, not limits on the regulation of private conduct. 539 U.S. at 209 n. 4.
Moreover, library patrons in Am. Libr. Ass’n had the ability to access the restricted content; all
they needed to do was ask to have the filtering technology turned off. Id. at 209. Indeed, the
decisive fifth vote came from Justice Kennedy, whose concurring opinion was based entirely on
this fact. See id. at 215 (Kennedy, J., concurring) (holding that the “legitimate, and even
compelling” interest in protecting minors from pornography was sufficient to sustain the
constitutionality of the law given that adult access to the filtered material was not “burdened in
any significant degree”). Justice Breyer also concurred in the result, stating that he believed an
intermediate level of scrutiny should apply. Id. at 216 (Breyer, J., concurring) (“I would apply a
form of heightened scrutiny, examining the statutory requirements in question with special
care.”)

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       Here, by contrast, there is no process for students to obtain from the school library books
that Senate File 496 has declared off limits. There is not, for example, a sealed section of the
school library that students can access if they have parental consent. To the contrary, school
librarians and teachers would face discipline for making such books available to students under
any circumstances. Moreover, Senate File 496 limits the affirmative free speech rights of the
Student Plaintiffs by limiting what can be discussed in the school setting. This makes Senate File
496 substantially different from the spending-related restrictions upheld in Am. Libr. Ass’n.
       Fourth, and finally, even if the Court adopted the State Defendants’ position that the
selection of books in a school library constitutes “government speech,” Senate File 496 still
would have to be evaluated under the vagueness doctrine. For purposes of a void for vagueness
claim, the conduct in question “need not be grounded in [First Amendment] constitutional
protections because the claim is based on adequate notice of proscribed behavior.” Stephenson,
110 F.3d at 1307.
       In sum, the Court declines to treat the book restrictions in Senate File 496 as a form of
government speech for which no First Amendment scrutiny is appropriate, nor would treating it
as such resolve the constitutional issues anyway.
       B. The Student Plaintiffs Are Likely to Prevail on Their Claims that the Book
          Restrictions in Senate File 496 Violate Pico and Pratt.
       Turning to the merits, the Court must first evaluate whether the Student Plaintiffs have
established that the book restrictions in Senate File 496 are based on impermissible ideological,
religious, or other grounds amounting to the “suppression of ideas” or imposition of a “pall of
orthodoxy” over the classroom, or if the State Defendants instead have shown a “substantial and
reasonable governmental interest” for those restrictions. See Pratt, 670 F.2d at 777. The Court
concludes that the Student Plaintiffs are likely to prevail on this issue.
       The Court reaches this conclusion largely based on Senate File 496’s expansive definition
of “age-appropriate.” There very well may be individual books that the Iowa Legislature (or a
local school board) could remove from school libraries without running afoul of the First
Amendment due to the book’s level of vulgarity and the potential for access by younger students.
See, e.g., Wentzville R-IV Sch. Dist., 619 F. Supp. 3d at 917 (holding that school librarian did not
violate First Amendment by removing three books with sexually explicit content that could have
been viewed by third graders). The problem here, however, is that Senate File 496 makes no
attempt to target such books in any reasonable way. Instead, it requires the wholesale removal of
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every book containing a description or visual depiction of a “sex act,” regardless of context. The
underlying message is that there is no redeeming value to any such book even if it is a work of
history, self-help guide, award-winning novel, or other piece of serious literature. In effect, the
Legislature has imposed a puritanical “pall of orthodoxy” over school libraries. This is
impermissible under Pico, Pratt, and similar cases. See Pico, 457 U.S. at 871 (“Our Constitution
does not permit the official suppression of ideas.”); see also Tinker, 393 U.S. at 511 (“In our
system, students may not be regarded as closed-circuit recipients of only that which the State
chooses to communicate.”).
       The State Defendants argue, in part, that the book restrictions do not violate the First
Amendment because students still can obtain the books from a public library or bookstore; they
simply cannot get them through the school library. The Eighth Circuit rejected a nearly identical
argument in Pratt, holding that “[r]estraint on protected speech generally cannot be justified by
the fact that there may be other times, places or circumstances for such expression.” 670 F.2d at
779; see also Reno, 521 U.S. at 880 (“[O]ne is not to have the exercise of his liberty of
expression in appropriate places abridged on the plea that it may be exercised in some other
place.”) (internal punctuation and citation omitted). The availability of the books through other
channels therefore does not save the restrictions in Senate File 496 from constitutional scrutiny.
See Counts v. Cedarville Sch. Dist., 295 F. Supp. 2d 996, 1000 (W.D. Ark. 2003) (rejecting
argument that student’s ability to access book at home precluded First Amendment challenge to
school board regulation).
       The State Defendants also argue that the breadth of the book restrictions in Senate File
496 help it satisfy constitutional muster. At first glance, this is an odd argument: one would not
ordinarily expect the First Amendment to provide weaker protection in the context of broader
restrictions. See Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 831–32 (1995)
(“[E]xclusion of several views on [a topic] is just as offensive to the First Amendment as the
exclusion of only one . . . The dissent’s declaration that debate is not skewed so long as multiple
voices are silenced is simply wrong; the debate is skewed in multiple ways.”). Here, however,
the State Defendants’ position is understandable. Pico and Pratt focused largely on whether the
school board was trying to suppress a particular viewpoint or idea when it ordered the removal of
a book or material. By contrast, Senate File 496 adopts a definition of “age-appropriate” that,



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although broad, does not on its face target any ideology. It simply forbids “sex acts” for the sake
of them being “sex acts.”
       The Court returns, however, to the problem of the “pall of orthodoxy” that Senate File
496 imposes. The statute’s broad and unyielding requirement that books be removed whenever
they describe or depict a “sex act” may seem viewpoint-neutral in the sense of not being targeted
toward, say, Republicans or Democrats, but it is nonetheless content-specific in the sense of
communicating that no book with a description or visual depiction of a sex act is appropriate for
minors, regardless of educational or literary value. The fact that the Bible and other religious
texts are exempted from the law makes the problem even worse, as it communicates that
religious books with descriptions of sex acts have value after all, while all others do not. This
amounts to “discriminat[ion] among [books] solely on the basis of content.” Erznoznik, 422 U.S.
at 211 (holding that a ban on all films containing nudity was a content-based restriction); see also
Epperson v. Ark., 393 U.S. 97, 104 (1968) (“The First Amendment mandates governmental
neutrality between religion and religion, and between religion and nonreligion.”). This type of
discrimination is impermissible in the absence of a “substantial and reasonable governmental
interest.” Pratt, 670 F.2d at 777.
       The State Defendants have presented no evidence that student access to books depicting
sex acts was creating any significant problems in the school setting, much less to the degree that
would give rise to a “substantial and reasonable governmental interest” justifying across-the-
board removal. Instead, at most, the State Defendants presented evidence that some parents
found the content of a small handful of books to be objectionable. (E.g., Penguin House Docket
ECF 45-1, pp. 50–59; 89–106.) This is not enough to justify the removal of not just that small
handful of books, but also hundreds of others. See Interactive Digital Software Ass’n v. St. Louis
Cnty., Mo., 329 F.3d 954, 959–60 (8th Cir. 2003) (“Nowhere in [its precedent] does the Supreme
Court suggest that the government’s role in helping parents to be the guardians of their children’s
well-being is an unbridled license to governments to regulate what minors read and view.”). The
Student Plaintiffs therefore are likely to prevail on their position that Senate File 496 violates
their First Amendment right to receive information in school libraries.
       C. The Publisher/Author Plaintiffs and Student Plaintiffs Are Likely to Prevail on Their
          Overbreadth Challenge to the Book Restrictions in Senate File 496.
       For similar reasons, the Publisher/Author Plaintiffs and Student Plaintiffs are likely to
prevail on their First Amendment overbreadth challenge, which requires the Court to analyze
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whether a “substantial number” of the applications of Senate File 496 are unconstitutional,
“judged in relation to the statute’s plainly legitimate sweep.” Stevens, 559 U.S. at 473.
           “The first step in overbreadth analysis is to construe the challenged statute; it is
impossible to determine whether a statute reaches too far without first knowing what the statute
covers.” United States v. Williams, 553 U.S. 285, 293 (2008). As explained above, Senate File
496 uses a broad and inflexible definition of “age-appropriate” and “sex act” that requires the
removal from school libraries of an extraordinary range of literature. School districts have
removed books about the Holocaust and World War II, works of fiction and nonfiction about or
by survivors of sexual assault, self-help guides, historical fiction, contemporary fiction, countless
novels about the emotional and physical challenges associated with being a teenager or young
adult, and even—in the height of irony—novels about the dangers of government censorship and
overreach. The law has a staggeringly broad scope. Even the dictionary and Iowa Code are likely
prohibited       book.    See   Sexual     Intercourse,      MERRIAM-WEBSTER ONLINE DICTIONARY 6
(“heterosexual intercourse involving penetration of the vagina by the penis”); Iowa Code §
702.17(1) (“Penetration of the penis into the vagina or anus.”).
           Moreover, the definitions of “age-appropriate” and “sex act” allow for no consideration
whatsoever to be given to a book’s political, artistic, literary, or scientific value, nor does the law
allow a school district to consider the age of students who might have access to the book. As the
Penguin House Plaintiffs correctly point out, Senate File 496 treats a seventeen-year-old high
school student like Hailie Bonz (who is beyond the age of consent under Iowa law) the same as a
five-year-old in kindergarten. The law therefore comes nowhere close to the one that passed
constitutional muster in Ginsberg, which was carefully tethered to the then-prevailing adult
definition of “obscenity,” as applied to minors. See 390 U.S. at 646; see also Erznoznik; 422 U.S.
at 213 (striking down city ordinance as overbroad despite possibility that minors would witness
nudity).
           The Iowa Legislature easily could have applied an obscenity-light standard in Senate File
496. Indeed, that standard exists in Iowa Code Chapter 728, which criminalizes the
dissemination and exhibition of “obscene material” to minors. See Iowa Code § 728.1(5)
(defining “obscene material” based on the adult definition of obscenity, as adjusted for
“community standards with respect to what is suitable material for minors”). The Legislature

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    https://www.merriam-webster.com/dictionary/sexual%20intercourse (last accessed December 28, 2023).

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chose not to adopt such a standard for school libraries, however, instead enacting a sweeping law
leading to the removal of hundreds of works, including history books, Pulitzer Prize winning
novels, self-help guides for how to avoid being victimized by sexual assault, and historical
classics like Ulysses. See Fayetteville Pub. Lib., 2023 WL 4845636, at *11 (“Ulysses is widely
viewed as one of the most influential modernist novels in the English language. The idea of
banning it would seem absurd to most modern Americans.”). If anything, based on the Court’s
interpretation of the plain language of Senate File 496, Iowa school districts are not going far
enough in removing books.
       The State Defendants all but admit the overbreadth problem in how they defend the law.
At oral argument, counsel’s very first words were that “[b]ooks with graphic illustrations of
people performing oral sex on each other are circulating in Iowa schools, and before Senate File
496, schools were refusing to remove them.” (Tr. 67.) Similarly, the declarations submitted in
support of the State Defendants’ position place considerable emphasis on one specific book with
a graphic depiction of oral sex: Gender Queer: A Memoir. (Penguin House Docket ECF 45-1, pp.
20, 50, 71, 90.) But Senate File 496 did not merely remove one book from school libraries; it
removed hundreds. Thus, the fact that one book—or even a small handful—arguably could have
been removed without violating the First Amendment does not sustain the law against an
overbreadth challenge.
       Although the context is different, Senate File 496 is similar in many ways to the statute
prohibiting depictions of “animal cruelty” that the Supreme Court struck down in United States
v. Stevens, 559 U.S. 460. “Animal cruelty” was defined as any depiction “in which a living
animal is intentionally maimed, mutilated, tortured, wounded, or killed.” Id. at 464. On its face,
the law had “alarming breadth,” which the Government attempted to mitigate by arguing that it
applied only to “extreme” material. Id. at 473–74. The Supreme Court rejected the Government’s
argument as being inconsistent with the plain language of the statute. Id. at 480. “The
Government’s assurance that it will apply [the statute] far more restrictively than its language
provides is pertinent only as an implicit acknowledgement of the potential constitutional
problems with a more natural reading.” Id.
       The same problem is present here. Although the State Defendants attempt to justify
Senate File 496 by reference to a few books with extensive descriptions or visual depictions of
sexual conduct, the statute sweeps far more broadly and includes books that have as little as a

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single sentence describing a sex act. To that end, in contrast to the relatively small number of
books identified by the State Defendants that they believe are highly vulgar, the Penguin House
Plaintiffs have identified dozens—if not hundreds—of books that have been removed from one
or more school districts despite undeniable political, artistic, literary, and/or scientific value. This
includes books and materials that: (a) are commonly covered on high school Advanced
Placement exams, such as The Color Purple, Native Son, The Handmaid’s Tale, As I Lay Dying,
Beloved, 1984, and Brave New World; (b) address bullying, racism, sexual assault, and other
forms of trauma, such as Nineteen Minutes, I Know Why the Caged Bird Sings, The Bluest Eye,
Song of Solomon, Speak, Shout, Push, Looking for Alaska, The Fault in Our Stars, and Last
Night at the Telegraph Club; (c) are designed to help students understand the human body and
human anatomy, such as The Way We Work: Getting to Know the Amazing Human Body; (d) are
designed to help people avoid being victimized by sexual assault, such as Sexual Predators and
The Truth About Rape; (e) depict important historical events, such as Night and The Rape of
Nanking; and (f) are widely recognized as classic works of literature or cinema, such as Ulysses,
The Picture of Dorian Gray, Animal Farm, Forrest Gump, and Memoirs of a Geisha. The
imbalance between the number of books identified by the State Defendants as justifying the
restriction and the number of books identified by the Penguin House Plaintiffs as having been
swept up in it show that a “substantial number” of the applications of Senate File 496 are
unconstitutional when “judged in relation to the statute’s plainly legitimate sweep.” Stevens, 559
U.S. at 473. The Publisher/Author Plaintiffs and Student Plaintiffs are therefore likely to prevail
on this aspect of their constitutional challenge.
        D. The Educator Plaintiffs Are Likely to Prevail on Their Void for Vagueness Challenge
           to the Book Restrictions in Senate File 496.
        A law or regulation is void for vagueness if it “fails, (1) to define the offense with
sufficient definiteness that ordinary people can understand prohibited conduct; and (2) to
establish standards to permit police to enforce the law in a non-arbitrary, non-discriminatory
manner.” Woodis v. Westark Cmty. Coll., 160 F.3d 435, 438 (8th Cir. 1998). “[S]chool
disciplinary rules need not be as detailed as a criminal code which imposes criminal sanctions.”
Fraser, 478 U.S. at 686. “But when a school policy reaches speech protected by the First
Amendment, the vagueness doctrine ‘demands a greater degree of specificity than in other
contexts.’” Parents Defending Educ., 83 F.4th at 668 (quoting Stephenson, 110 F.3d at 1308–
09).
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           The Penguin House Plaintiffs’ void for vagueness argument revolves principally around
the question of what constitutes a “description[] . . . of a sex act” for purposes of Iowa Code §
256.11(19). They present evidence that school districts in Iowa are all over the map on the issue,
with some districts like the Nevada Community School District having removed hundreds more
books than others like the United Community School District. (Penguin House Docket ECF 34,
p. 34.) Similarly, certain books like 1984, The Fault in Our Stars, and The Handmaid’s Tale
have been removed from some school library programs but not others. (Id.) One of the major
areas of uncertainty is the level of detail a book passage must have before it constitutes a
description or visual depiction of a sex act; for example, is a passage stating that two characters
“made passionate love” or “had sexual intercourse” enough to require removal? (Id., p. 27.) The
State Defendants say “no” and insist the law only requires the removal of books that literally talk
about the “penetration of the penis into the vagina or anus,” “contact between the finger, hand, or
other body part of one person and the genitalia or anus of another person,” or some other “sex
act” as defined in Iowa Code § 702.17. To that end, the Proposed Rules issued by the Iowa State
Board of Education on November 15, 2023, state that a “reference or mention of a sex act in a
way that does not describe or visually depict a sex act as defined in that section is not included”
in the definition of “age-appropriate.” (Penguin House Docket ECF 1-2, p. 4.)
           The Court concludes that the Educator Plaintiffs are likely to prevail on their argument
that the definition of “age-appropriate” is void for vagueness. See Parents Defendant Educ., 83
F.4th at 668 (holding that plaintiffs were likely to prevail in void for vagueness argument based
on ambiguity of the word “respect”). According to Merriam-Webster, the word “description”
means “an act of describing,” “discourse intended to give a mental image of something
experienced,” or “a statement or account giving the characteristics of someone or something: a
descriptive statement or account.” Description, MERRIAM-WEBSTER ONLINE DICTIONARY. 7 In
the context of Senate File 496, this definition is elastic enough to leave considerable uncertainty
about what crosses the line. In the Court’s view, for example, a statement that two characters
“made passionate love,” “had sex on the bed,” or even just “had sex” is a “description” of a “sex
act,” albeit not a terribly detailed one. Accordingly, reasonable school districts could decide to
remove books with such language. Reasonable school districts also could decide not to do so,



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    https://www.merriam-webster.com/dictionary/description (last visited December 28, 2023).

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however, concluding that such language does not contain sufficient visual imagery to constitute a
“description.”
       To take a real example from a real book, similar uncertainty applies to the passage from
Malinda Lo’s book Last Night at the Telegraph Club about a character who “took Kath’s hand
and moved it to the cleft of her body . . . Kath put her hand between Lily’s legs.” (Penguin House
Docket ECF 34, p. 32, n. 21.) The Court interprets this as a “description” of “contact between
the . . . hand . . . of one person and the genitalia . . . of another person.” Other reasonable
observers, however, might not agree since the contact is merely strongly implied rather than
unequivocally stated. This places school districts and licensed professionals like the Educator
Plaintiffs in the untenable position of having to decide whether to remove Last Night at the
Telegraph Club from the school library—thereby interfering with the First Amendment rights of
students—or leaving it on the shelves and facing potential discipline, up to and including
termination. By forcing them into this predicament, Senate File 496 likely violates the due
process clause. See Parents Defending Educ., 83 F.4th at 669 (enjoining vague school district
policy requiring students to “respect” the gender identity of other students); Stephenson, 110
F.3d at 1310 (striking down regulation prohibiting gang symbols due to ambiguity in the word
“gang” and potential for arbitrary enforcement); Video Software Dealers Ass’n v. Webster, 968
F.2d 684, 690 (8th Cir. 1992) (striking down statute as void for vagueness based on failure to
define “violence”).
       The Proposed Rules—which state that a “reference or mention of a sex act in a way that
does not describe or visually depict a sex act” is not forbidden—does not solve the vagueness
problem. For starters, the Proposed Rules will not yet be final at the time the penalty provisions
in Senate File 496 take effect on January 1, 2024. Indeed, they may never become final at all.
Accordingly, the Proposed Rules do nothing at present to protect the Educator Plaintiffs and
other licensed professionals from the consequences of making a misjudgment about the scope of
Senate File 496. Even if the Proposed Rules become final, they do little to clarify the definition
of “sex act.” Is a statement that two characters “had sex on the bed” or “made passionate love” a
mere “reference or mention of a sex act,” or does it “describe” the sex act by stating where (“the
bed”) or how (“passionately”) it occurred? Perhaps the answer depends on whether the book
already described what the characters look like, or what clothes they were wearing, or the
dimensions of the room they were in. Perhaps not. All the Court can say for now is that it likely

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violates the due process rights of the Educator Plaintiffs to have to make this judgment call at
risk of their employment and licensure. See Parents Defending Educ., 83 F.4th at 669 (enjoining
policy due to “lack of clarity [that] makes the policy susceptible to arbitrary enforcement”).
VI.    LEGAL ANALYSIS: THE CONSTITUTIONALITY OF SENATE FILE 496 AS IT
       RELATES TO RESTRICTIONS IN GRADE SIX AND BELOW ON PROGRAMS,
       PROMOTION, AND INSTRUCTION RELATING TO GENDER IDENTITY AND
       SEXUAL ORIENTATION.
       Unlike the book restrictions, the Court need not dig deeply into First Amendment
principles and precedent in connection with the restrictions in Senate File 496 on programs,
promotion, and instruction relating to gender identity and sexual orientation. Instead, the Court
will simply evaluate those restrictions under void for vagueness principles. For reasons set forth
below, the Court concludes the Educator Plaintiffs and the one GLBT Youth Student Plaintiff
with standing (A.C.) are likely to prevail on their argument that the restrictions are void for
vagueness under the due process clause.
       A. The Breadth of the Restrictions on Programs, Promotion, and Instruction Relating to
          Gender Identity and Sexual Orientation Make It All but Certain that the State Will
          Enforce Those Restrictions in an Arbitrary Manner.
       As explained in detail above, the Court for the most part does not find the language of
Iowa Code § 279.80, as enacted by Senate File 496, to be ambiguous. It does, however, find the
language to be staggeringly broad. On its face, the law prohibits school districts and teachers
from providing any “program, curriculum, test, survey, questionnaire, promotion, or instruction
relating to gender identity or sexual orientation to any students in kindergarten through grade
six.” Based on the neutral definitions of “gender identity” and “sexual orientation,” Senate File
496 unambiguously prohibits instruction relating to any gender identity (cisgender or
transgender) and any sexual orientation (gay or straight). See Iowa Code § 216.2(10) (defining
“gender identity” as “a gender-related identity of a person, regardless of the person’s assigned
sex at birth”); Iowa Code § 216.2(16) (“defining “sexual orientation” as “actual or perceived
heterosexuality, homosexuality, or bisexuality”). It follows that any teacher in grade six or below
who incorporates gender identity or sexual orientation into the curriculum in any way has
violated section 279.80. This would include, for example, teachers or other licensed
professionals like the Educator Plaintiffs who make books available to students that refer to any
character’s gender or sexual orientation; which is to say, virtually every book ever written.
Similarly, a math teacher will have violated the law by requiring students to take an exam stating

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that Sally bought eight apples and ate three and asking how many “she” has left. This is a
forbidden “test . . . relating to gender identity.” Any number of other examples also could be
given.
         The Court must interpret the law this broadly not just because of the neutral definitions of
“gender identity” and “sexual orientation”—although that is, of course, an important part of the
analysis—but also because the Legislature chose to forbid programs/promotion/instruction/etc.
“relating to” those neutrally-defined topics. The Supreme Court has consistently emphasized that
the words “relating to” in legislative enactments must be interpreted “expansively.” Lamar,
Archer & Cofrin, LLP v. Appling, 138 S. Ct. 1752, 1760 (2018); see also, e.g., Pugin v. Garland,
599 U.S. 600, 607 (2023) (describing “relating to” as a “broad phrase”). “The ordinary meaning
of these words is a broad one—‘to stand in some relation; to have bearing or concern; to pertain;
refer; to bring into association with or connection with’ . . .” Morales v. Trans World Airlines,
Inc., 504 U.S. 374, 383 (1992) (quoting Black’s Law Dictionary 1158 (5th ed. 1979)). The State
Defendants confirm the same, taking the position that a school district cannot, for example, have
students in grade six or below read a book with a gay or transgender character as part of the
compulsory curriculum, as such a book would “relate to” sexual orientation or gender identity.
(Penguin House Docket ECF 45, p. 19; see also Tr. 84 (“[A book with a gay character] can be in
the library; the teacher cannot use that as curriculum.”)). Once the State Defendants’ admission
on the breadth of “relating to” is combined with the broad but neutral definitions of “gender
identity” and “sexual orientation,” the conclusion becomes unavoidable that any program,
promotion, or instruction that incorporates or acknowledges the gender identity or sexual
orientation of any person in any way “relates to” those topics and is impermissible.
         The Court is aware that the GLBT Youth Plaintiffs and State Defendants alike believe
this is an “absurd” interpretation of Senate File 496. (The Penguin House Plaintiffs, by contrast,
correctly recognize that it is the only way to interpret the plain language of the law.) Neither the
GLBT Youth Plaintiffs or State Defendants, however, offer any alternative interpretation of the
law that actually takes into account the statutory language. The GLBT Youth Plaintiffs instead
rely on isolated statements by legislators to argue that the law targets gay and transgender
students, while the State Defendants make no meaningful attempt to wrestle with the neutral
definitions of “gender identity” and “sexual orientation” at all.



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         The Court is not at liberty to interpret Senate File 496 according to stray comments by
individual legislators. Nor may the Court apply its own subjective judgment, divorced from the
statutory text, about what the Legislature was probably trying to accomplish. Instead, the
analysis must focus squarely on the statutory language. See, e.g., Niz-Chavez v. Garland, 593
U.S. 155, 160 (2021) (“When [the text of a statute] enables us to resolve the interpretive
question, our sole function is to apply the law as we find it, not defer to some conflicting reading
the government might advance.” (internal punctuation and citation omitted)). And for good
reason: it would violate principles of separation of powers for the Court to pretend the
Legislature wrote a different statute than it did. See, e.g., Ross v. Blake, 578 U.S. 632, 639 (2016)
(“Congress sets the rules—and courts have a role in creating exceptions only if Congress wants
them to.”); Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 228 (2008) (“[W]e are not at liberty to
rewrite the statute to reflect a meaning we deem more desirable.”).
         The incredible breadth of the actual text of section 279.80, as enacted by Senate File 496,
makes it likely that the Educator Plaintiffs and A.C. will prevail on their void for vagueness
challenge. As to the Educator Plaintiffs, although the State Defendants promise—for now—that
section 279.80 does not apply to school library programs, this promise is inconsistent with the
statutory language, which specifically uses the word “program” to describe what is forbidden.
See Parents Defending Educ., 83 F.4th at 669 (rejecting the school district’s attempt for litigation
purposes to narrow the scope of a policy beyond the plain meaning). Moreover, because the
statutory language prohibits even instruction relating to heterosexual and cisgender characters, a
sixth-grade teacher like Gutmann is theoretically subject to discipline no matter what he does.
Finally, as discussed in an earlier section, the word “promotion” is broad enough that the State
could decide, consistent with the statutory language, to bring disciplinary measures against
Gutmann and other teachers (like Browder) or licensed professionals (like Abry) who make
books with gay or transgender characters available to sixth graders, particularly if the teacher
does so after learning that a student has questions or concerns about gender identity or sexual
orientation. This combination of circumstances “makes the policy susceptible to arbitrary
enforcement” on an “ad hoc and subjective basis.” Id. It follows that the Educator Plaintiffs are
likely to prevail on their void for vagueness challenge. See id.; see also Stephenson, 110 F.3d at
1310.



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       The same is true for A.C. The breadth of the law means that a reasonable school district
would not permit her to join a GSA, thus interfering with her First Amendment rights to
expressive association. See Gay & Lesbian Students Ass’n, 850 F.2d at 368. A.C. also could say
any number of things in the classroom about gender identity or sexual orientation that the State
or a school district might decide is impermissible, thus giving the State or school district virtually
“unfettered discretion” to decide she was disrupting the class by raising inappropriate topics.
Stephenson, 110 F.3d at 1310. Granted, one would hope the State or school district would never
do such a thing, but a void for vagueness challenge ultimately rises or falls on the “plain
meaning” of the statute, not the State Defendants’ position that it means something other than
what it says. Parents Defending Educ., 83 F.4th at 668–69. A.C. is therefore likely to prevail on
her void for vagueness challenge.
       B. The State Defendants’ Promise to Only Enforce the Law in a Discriminatory Fashion
          Does Not Solve the Constitutional Problem.
       Although the State Defendants never address head-on the neutral definitions of “gender
identity” and “sexual orientation” in Senate File 496, their briefing and argument leave the
unmistakable impression that they believe the law only forbids programs, promotion, and
instruction relating to transgender people and non-heteronormative relationships. In other words,
in the State Defendants’ view, the law permits a sixth-grade teacher to assign a book in which a
man and woman married to each other but prohibits the same teacher from assigning a book in
which two men are married to each other. Similarly, according to the State Defendants, it is fine
if an assigned book’s characters are “boys” and “girls” so long as this description matches their
biological sex, but not if one of those characters is transgender.
       Because this position is inconsistent with the plain language of the statute, it is not
terribly relevant to the Court’s analysis except in one sense: it confirms that the most likely
enforcement of Senate File 496 will be against teachers and students who want to discuss same-
sex relationships or transgenderism. This adds a new layer to the constitutional problems
described above because it inhibits the ability of students to “express beliefs that others might
find disagreeable or offensive.” See id. at 667. Under Parents Defending Educ., it likely would
violate the First Amendment to allow students to discuss heterosexual relationships or cisgender
people as much as they wish but cut off any discussion of same sex relationships or transgender
people. See id. The State Defendants’ putative interpretation of the statute therefore reinforces
the constitutional problems, rather than resolving them.
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VII.    APPLICATION OF THE PRELIMINARY INJUNCTION FACTORS.
        “When a plaintiff has shown a likely violation of his or her First Amendment rights, the
other requirements for obtaining a preliminary injunction are generally deemed to have been
satisfied.” Minn. Citizens Concerned for Life, Inc. v. Swanson, 692 F.3d 864, 870 (8th Cir.
2012). Thus, injunctive relief is appropriate simply because: (i) all Penguin House Plaintiffs and
GLBT Youth Plaintiffs are likely to prevail on the merits of their challenge to the book
restrictions in Senate File 496; and (ii) the Educator Plaintiffs and the one GLBT Youth Plaintiff
with standing are likely to prevail on the merits of their challenge to the restrictions in Senate
File 496 on programs, promotion, and instruction relating to gender identity and sexual
orientation. See id.; see also Carson, 978 F.3d at 1059 (“While no single factor is determinative,
the probability of success factor is the most significant.” (internal punctuation and citation
omitted)). 8 Nonetheless, the Court will briefly analyze the other factors as well.
        The irreparable harm factor weighs squarely in favor of imposing a preliminary
injunction. “It is well-established that ‘[t]he loss of First Amendment freedoms, for even
minimal periods of time, unquestionably constitutes irreparable injury.’” Powell v. Noble, 798
F.3d 690, 702 (8th Cir. 2015) (quoting Elrod v. Burns, 427 U.S. 347, 373)). Here, the Student
Plaintiffs and Publisher/Author Plaintiffs face such a loss. Moreover, the Educator Plaintiffs are
at risk of termination, loss of licensure, or other consequences if they are deemed to have
violated either aspect of Senate File 496. By contrast, while the temporary invalidation of
portions of a duly enacted state law is a serious and significant remedy, school districts retain the
discretion they have always had to control curriculum, make decisions about school libraries, and
otherwise set expectations for students and teachers. The balancing of equities therefore weighs
in favor of injunctive relief, as does the public interest. See Parents Defending Educ., 83 F.4th at
669 (awarding preliminary injunctive relief).
VIII. CONCLUSION.
        The Court GRANTS the Motion for Preliminary Injunction filed by the Penguin House
Plaintiffs and GRANTS IN PART the Motion for Preliminary Injunction filed by the GLBT
Youth Plaintiffs. All Defendants are hereby ENJOINED from enforcing or acting in furtherance
of the provisions of Senate File 496 that: (i) require the removal of books from school libraries

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  Because the analysis of the First Amendment and due process issues is sufficient to satisfy the Court that a
preliminary injunction should be entered, the Court will not analyze—and expresses no view on—the merits of the
GLBT Youth Plaintiffs’ arguments under the Equal Access Act and equal protection clause.

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that are not “age-appropriate”; and (ii) prohibit any “program, curriculum, test, survey,
questionnaire, promotion, or instruction relating to gender identity or sexual orientation to
students in kindergarten through grade six.” No bond or other security will be required.
       The Court DENIES IN PART the Motion for Preliminary Injunction filed by the GLBT
Youth Plaintiffs as it relates to the provision of Senate File 496 that requires school districts to
notify parents if a student requests an accommodation relating to gender identity. This provision
of the law remains in effect and fully enforceable.


       IT IS SO ORDERED.


       Dated: December 29, 2023                 ______________________________________
                                                  STEPHEN H. LOCHER
                                                  U.S. DISTRICT JUDGE




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